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                          EXHIBIT 1

   Iran Thalassemia Society v. OFAC

MEDICAL REPORT OF DR. NOURBAKHSH
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                    EXHIBIT 2A

 Iran Thalassemia Society v. OFAC

       STATEMENT OF MR. ARAB
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                    EXHIBIT 2B

 Iran Thalassemia Society v. OFAC

           RESUME OF MR. ARAB
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                    EXHIBIT 3A

 Iran Thalassemia Society v. OFAC

            DECLARATION OF
         DR. MOHAMMAD PARVIZI
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                    EXHIBIT 3B

 Iran Thalassemia Society v. OFAC

   CV OF DR. MOHAMMAD PARVIZI
        Case 3:22-cv-01195-HZ        Document 2-3      Filed 08/15/22    Page 20 of 74




                               Curriculum Vitae
                      Mohammad Mahdi Parvizi
 PERSONAL INFORMATION:

 First/Middle Names: Mohammad Mahdi

 Last Name: Parvizi

 Nationality: Iran

 Date of birth: September 11, 1985

 City of Birth: Shiraz

 Marital Status: Single

Present Positions:

Assistant Professor, Molecular Dermatology Research Center, Shiraz University of Medical
       Sciences, Shiraz, Iran.

Assistant Professor, Research Center for Traditional Medicine and History of Medicine, Shiraz
       University of Medical Sciences, Shiraz, Iran.

Mailing Address: Shahid Faghihi Hospital, Clinic of Dermatology, Molecular Dermatology
      Research Center, Shiraz University of Medical Sciences and Health Services, Shiraz, Iran
      P. O. BOX; 7134846114

Mobile Phone: (+98)-917-3237031

Office Phone: (+98)-7132125592

Email: mmparvizi@gmail.com; parvizim@sums.ac.ir


EDUCATIONAL BACKGROUND:

Diploma (in Experimental Sciences)                                        2000-2004
      Shahed High School, Kazeroun, Fars Province, Iran




                              CV, Dr. Mohammad M. Parvizi – page 1
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Doctorate in Medicine (MD)                                             2004-2011
      School of Medicine, Islamic Azad University, Tehran Branch, Tehran; Iran

           ● Thesis title: Demographic Characteristics in Children with Asthma Admitted in
             Shahid Dastgheib Hospital, Shiraz, Iran, 1993-2003


 PhD in Traditional Persian Medicine                                  2012-2017
      Department of Persian Medicine, School of Medicine, Shiraz University of Medical
       Sciences, Shiraz, Iran

           ● Thesis title: Determination of the Efficacy of Cryotherapy plus Topical Juniperus
             Excelsa M.Bieb, Based on Traditional Persian Medicine, Versus Cryotherapy
             Alone in the Treatment of Cutaneous Leishmaniasis: a Triple-BlindRandomized
             Clinical Trial

       Relevant course work: Juniperus excelsa M. Bieb; a medicinal plant with various
       pharmacological activities; cutaneous leishmaniasis in Persian medicine; constipation
       treatment in Persian medicine

 Master’s Degree in Medical Education                               2011-2013
      Educational Developmental Centre (EDC), School of Medicine, Shiraz University of
      Medical Sciences, Shiraz, Iran

           • Thesis title: Psychometric Properties of the Persian Version of the Ambulatory
             Care Learning Educational Environment Measure (ACLEEM) Questionnaire,
             Shiraz, Iran


 Master’s Degree in Public Health (MPH)                                2013-2015
      Health Policy Research Centre, School of Medicine, Shiraz University of Medical
      Sciences, Shiraz, Iran

           • Thesis title: Health Literacy in Patients with Epidermolysis Bullosa in Iran


Master’s Degree in Medical Journalism                                 2018-2021
       Department of Medical Journalism, School of Paramedical Sciences, Shiraz University of
       Medical Sciences, Shiraz, Iran




                              CV, Dr. Mohammad M. Parvizi – page 2
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        • Thesis title: Investigating the Relationship between the Characteristics of
          Article Titles and the Value of Citation Metrics in Selected English-
          Language and Specialized Journal of Dermatology

WORKSHOPS ATTENDED:

        •   Basics of Traditional Persian Medicine,
        •   Medical Journalism,
        •   Scientific Writing,
        •   Research in Traditional Persian Medicine,
        •   How to design and conduct a clinical trial (types and conditions),
        •   Systematic Review
        •   Cohort Study
        •   Case- Control Study
        •   Meta-analyses
        •   Ethical statements in medicine and researches
        •   How to read a paper?
        •   SPSS Software (Statistical Package for the Social Sciences)
        •   Stata software
        •   Medcalc software
        •   Endnote software
        •   R software

PRESENTATIONS:

        ● More than 80 national and international presentations (oral and poster
          presentations) at different congresses

PUBLICATIONS:

     H-Index: 7 (According to Scopus); 9 (According to Google Scholar)


   1. Parvizi MM, Handjani F, Moein M, Hatam G, Nimrouzi M, Hassanzadeh J, et al.
      Efficacy of cryotherapy plus topical Juniperus excelsa M. Bieb cream versus
      cryotherapy plus placebo in the treatment of Old World cutaneous leishmaniasis: A
      triple-blind randomized controlled clinical trial. PLoS Negl Trop Dis.
      2017;11(10):e0005957. (IF=3.834)

   2. Parvizi MM, Nasrin SA, Parvizi Z. Butterfly Patients in Iran Waiting to Specific
      Attention from Authorities. Iranian Journal of Public Health. 2017 Jun
      25;46(7):1005-6. (IF=0.77)

   3. Parvizi MM, Namazi MR. Tranilast Can be a Useful Addition to the Limited Anti-
      Epidermolysis Bullosa Weaponry. Advanced pharmaceutical bulletin. 2017 Apr;7(1):1.
                            CV, Dr. Mohammad M. Parvizi – page 3
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4. Mosavat SH, Marzban M, Bahrami M, Parvizi MM, Hajimonfarednejad M. Sexual
   headache from view point of Avicenna and traditional Persian medicine.
   Neurological Sciences. 2017 Jan 1;38(1):193-6. (IF=1.7)

5. Fattahi MR, Alorizi SM, Nimrouzi M, Zarshenas MM, Parvizi MM. A randomized
   clinical trial on treatment of chronic constipation by traditional persian medicine
   recommendations compared to allopathic medicine: A pilot study. International
   Journal of Preventive Medicine. 2017 Jan 1;8(1):50.

6. Parvizi Z, Azarpira N, Kohan L, Darai M, Kazemi K, Parvizi MM. Association between
   E23K variant in KCNJ11 gene and new-onset diabetes after liver transplantation.
   Molecular biology reports. 2014 Sep 1;41(9):6063-9. (IF=1.8)

7. Parvizi MM, Salehi A, Nimroozi M, Hajimonfarednejad M, Amini F, Parvizi Z. The
   relationship between body mass index and temperament, based on the knowledge of
   traditional Persian medicine. Iranian journal of medical sciences. 2016 May;41(3
   Suppl):S14.

8. Parvizi MM, Amini M, Dehghani MR, Jafari P, Parvizi Z. Psychometric properties of
   the Persian version of the Ambulatory Care Learning Educational Environment
   Measure (ACLEEM) questionnaire, Shiraz, Iran. Advances in medical education and
   practice. 2016;7:559.

9. Parvizi MM, Heydari M, Namazi MR. Successful Treatment of Chronic Scalp
   Seborrheic Dermatitis Using Traditional Persian Medicine: A Case Report and
   Literature Review. Galen Medical Journal. 2017 Jun 25;6(2):157-9.

10. Parvizi Z, Sadati AK, Azarpira N, Parvizi MM, Tabrizi R, Heydari ST, Lankarani KB.
    Study of Quality of Life Among Liver Transplant Candidates in Shiraz,
    Southwestern Iran. Galen Medical Journal. 2016 Dec 30;5(4):180-87.

11. Parvizi MM, Heydari M. Re: A Traditional Iranian Medicine (Majoon-e Loboob).
   Traditional and Integrative Medicine. 2016 Dec 12;1(4):132.


12. Parvizi MM, Lankarani KB, Handjani F, Ghahramani S, Parvizi Z.Health Literacy in
    Patients with Epidermolysis Bullosa in Iran. Journal of Education and Health
    Promotion, J Edu Health Promot 2017, 6:105

13. Hamidizadeh N, Handjani F, Simaeetabar S, Ranjbar S, Gohari Moghadam M, Parvizi
    MM. Composition of Minerals and Trace Elements at Mamasani Thermal Source; a
    Possible Preventive Treatment for Some Skin Diseases. Journal of Education and
    Health Promotion, J Edu Health Promot 2017, 6:110

14. Parvizi MM, Lankarani KB, Nimrouzi M, Emami SA, Hajimonfarednejad M. Health
    recommendations in the elderly in viewpoint of traditional Persian medicine , Shiraz
    E Medical Journal, 2018, 19(1): e14201
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15. Zare F, Jaladat AM, Parvizi MM. Subject Index of the Medical Terms of the Holy
    Quran. Quranmed. 2019 Feb 15;3(4):1-6.[Persian]

16. Haghjoo E, Shojaii A, Parvizi MM. Efficacy of topical herbal remedies for insomnia
    in Iranian traditional medicine. Pharmacognosy Research. 2019 Apr 1;11(2):188.

17. Heydarirad G, Choopani R, Pasalar M, Parvizi MM, Hajian P, Mirzaei HR. The Effect of
    a Chickpea-Based Persian Diet on Cancer-Related Fatigue in Breast Cancer
    Patients: A Semi-Experimental Study. Complementary medicine research. 2019 May
    27:1-8. (IF=0.88)

18. Hamidizadeh N, Ranjbar S, Ghanizadeh A, Parvizi MM, Jafari P, Handjani F. Evaluating
    prevalence of depression, anxiety and hopelessness in patients with Vitiligo on an
    Iranian population. Health and Quality of Life Outcomes. 2020 Dec 1;18(1):20. .
    (IF=2.66)

19. Jowkar F, Godarzi H, Parvizi MM. Can we consider silymarin as a treatment option
    for vitiligo? A double-blind controlled randomized clinical trial of phototherapy
    plus oral Silybum marianum product versus phototherapy alone. Journal of
    Dermatological Treatment. 2020 Apr 2;31(3):256-60. (IF=2.11)

20. Nimrouzi M, Daneshfard B, Parvizi MM. Dream in Persian medicine perspective: a
    narrative review. International Journal of Dream Research. 2020 Mar 30:119-22.

21. Saki, N., Ahramiyanpour, N., Heiran, A., Alipour, S. and Parvizi, M.M., 2020. Efficacy
    of topical dimethyl sulfoxide (DMSO) 50% solution vs tretinoin 0.5% cream in
    treatment of patients with primary macular amyloidosis: A split-side single-blinded
    randomized clinical trial. Dermatologic Therapy, p.e13305. (IF=2.327)

22. Jowkar F, Kahnooj MH, Aslani FS, Parvizi MM. Clinicopathological evaluation of
    patients with rippled pattern pigmentation of the skin: A single-center study.
    Dermatologic Therapy. 2020 Feb 19:e13278. (IF=2.327)

23. Niazi M, Mehrabani M, Namazi MR, Salmanpour M, Heydari M, Karami MM, Parvizi
    MM, Fatemi I, Mehrbani M. Efficacy of a topical formulation of henna (Lawsonia
    inermis L.) in contact dermatitis in patients using prosthesis: A double-blind
    randomized placebo-controlled clinical trial. Complementary Therapies in Medicine.
    2020 Jan 15:102316. (IF=1.97)

24. Baniahmad M, Ghahartars M, Sari Aslani F, Sepaskhah M, Parvizi MM. A 28-year-old
    man with an asymptomatic firm plaque on his right shin: What is your diagnosis?
    have been submitted. Iranian Journal of Dermatology. 2019 Jun 1;22(2):82-4.

25. Amini F, Jaladat AM, Atarzadeh F, Mosavat SH, Parvizi MM, Zamani N. A review on
    the management of asthma in the Avicenna’s Canon of Medicine. Journal of
    Complementary and Integrative Medicine. 2019 Sep 17;16(4).


                         CV, Dr. Mohammad M. Parvizi – page 5
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26. Parvizi MM, Zare F, Handjani F, Nimrouzi M, Zarshenas MM. Overview of herbal and
    traditional remedies in the treatment of cutaneous leishmaniasis based on
    Traditional Persian Medicine. Dermatologic Therapy. 2020 May 13. . (IF=2.327)

27. Hassanshahi S, Parvizi MM, Bahrini M, Pouladi Sh, Mirzaei K. Assessment the efficacy
    of inhalation of aroma of orange extract and lavender extract, in comparison with
    placebo, on dental anxiety in patients referred to a dental clinic in Shiraz: a double-
    blinded controlled randomized clinical trial. Journal of Medicinal Plants. 2020 Jul
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28. Zare F, Parvizi MM, Saki N, Jaladat AM. Applications of Ma'aljobon, a natural
    remedy from traditional Persian medicine, in dermatology: A journey from past to
    modernity. Dermatologic Therapy. 2020 Jun 30:e13931. (IF=2.327)

29. Ghahartars M, Ahmadyan M, Salimkhanian M, Yazdanpanah S, Parvizi MM, Zomorodian
   K. Levels of zinc and vitamin D3 in patients with pityriasis versicolor: A study in
   Southern Iran, Shiraz. Dermatologic Therapy. 2020 Oct 18:e14427.Alyasin S,
   Nabavizadeh SH, Esmaeilzadeh H, Heydari ST, Mosavat SH, Parvizi MM, Hashemi SM,
   Hashempur MH. Efficacy of oral supplementation of whey protein in patients with
   contact dermatitis: A pilot randomized double‐blind placebo‐controlled clinical
   trial. Dermatologic Therapy. 2020 Sep 2:e14260. (IF=2.327)

30. Torabizadeh C, Rousta S, Gholamzadeh S, Kojouri J, Jamali K, Parvizi MM. Efficacy of
    education delivery through multimedia and text messaging on the psychological
    parameters of patients scheduled for coronary angiography: a single-blind
    randomized controlled clinical trial. BMC Cardiovascular Disorders. 2021
    Dec;21(1):1- 9. (IF=2.078)

31. Ghahartars M, Zahraei SA, Sari Aslani F, Hadibarhaghtalab M, Parvizi MM. A 58‐year‐
    old man with porokeratosis ptychotropica: A successful treatment with alone
    cryotherapy and literature review. Dermatologic Therapy. (IF=2.327).

32. Jaladat AM, Amiri-Ardekani E, Ramezani PS, Boroughani M, Emami Alorizi M, Parvizi
    MM. Correlation between gastrointestinal symptoms and adherence to traditional
    Persian medicine dietary recommendations in patients with vitiligo; a
    cross-sectional study. Journal of complementary & integrative medicine. 2021 Apr 2.
    doi: 10.1515/jcim- 2020-0192.

33. Pourshahidi S, Mansourian A, Habibzadeh M, Parvizi MM, Nimrouzi M. Association
    Between Geographic Tongue and Personal Temperament Based on the Knowledge
    of Persian Medicine. Shiraz E-Medical Journal. 2021 May 31;22(5).

34. Parvizi MM, Shabani M, Saki N, Rajabi S, Rampp T, Pasalar M. Association of
    functional dyspepsia with selected dermatology complaints and sleep disturbances
    based on traditional Persian medicine. Iranian Journal of Dermatology. 2021
    Jun;24(2):110-6.

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35. Chogani F, Parvizi MM, Murrell DF, Handjani F. Assessing the Quality of Life in the
    Families of Patients with Epidermolysis Bullosa: The Mothers as Main Caregivers,
    International Journal of Women's Dermatology, 2021 December; 7 (5): 721-726.

36. Parvizi MM, Fatehi N, Jaladat AM, Gholampour Z, Shahriarirad R, Erfani A.
    Epidemiological Factors in Patients with Dermatologic Conditions Referring to the
    Clinic of Traditional Persian Medicine: A Cross‐sectional Study. International
    Journal of Clinical Practice. 2021 Sep 4:e14788.

37. Pasalar M, Bagheri Z, Hojati-Moghadam A, Büssing A, Parvizi MM. Psychometric
    properties of a Persian version of the SpREUK-P questionnaire: an instrument for
    measuring the importance and frequency of spiritual/religious practices in Iranian
    patients with chronic gastrointestinal disease. Journal of Religion and Health. (In
    press).

38. Mosavat SH, Mirzaei HR, Mofid B, Gharehgozlou R, Parvizi MM, Bradley R, Pasalar M,
    Heydarirad G. Efficacy of lettuce seed syrup on insomnia in patients with breast
    cancer: a pilot double blind randomized placebo controlled clinical trial. Journal of
    Complementary and Integrative Medicine. 2021 Aug 30.

39. Pasalar M, Tabatabaei F, Bradley R, Tajadini H, Kamali M, Hasheminasab FS, Parvizi
    MM. Mechanistic support of traditional Persian medicine for the treatment of acne
    vulgaris: A scoping review . Journal of Cosmetic Dermatology. 2021 Sep 26. (In press)

40. Parvizi MM, Ghahartars M, Jowkar Z, Saki N, Kamgar M, Hosseinpour P, Zare H, Sari
    Aslani F. Association of Non-Melanoma Skin Cancer with Temperament from the
    Perspective of Traditional Persian Medicine: A Case-Control Study. Iranian Journal
    of Medical Sciences. 2022 Apr 6.

41. Sepehri NZ, Parvizi MM, Habibzadeh S, Handjani F. Lettuce as an Effective Remedy in
    Uremic Pruritus: Review of the Literature Supplemented by an In Silico Study.
    Evidence-Based Complementary and Alternative Medicine. 2022 Mar 29;2022.

42. Sadati AK, Parvizi MM, Forouhari S, Hosseini SA, Jahromi MH, Jafferany M. A
    Qualitative Study on Stigmatization Associated With COVID-19. The Primary Care
    Companion for CNS Disorders. 2022 Mar 24;24(2):40320.

43. Boldaji FT, Amini M, Parvizi MM. Psychometric properties of the Persian version of
    System for Evaluation of Teaching Qualities by students: A tool for assessing clinical
    tutors from students' viewpoint. Journal of Education and Health Promotion. 2022 Jan
    1;11(1):92.

44. Ghahartars M, Avandi B, Moradi Kashkooli N, Ahramiyanpour N, Parvizi MM.
    Epidemiological and clinical features of the hospitalized patients with
    erythroderma: A cross-sectional study. Iranian Journal of Dermatology. 2022 Mar
    1;25(1).

                         CV, Dr. Mohammad M. Parvizi – page 7
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    45. Sadati AK, Parvizi MM, Forouhari S, Hosseini SA, Jahromi MH, Jafferany M. A
        Qualitative Study on Stigmatization Associated With COVID-19. The Primary Care
        Companion for CNS Disorders. 2022 Mar 24;24(2):40320.

    46. Sepehri NZ, Parvizi MM, Habibzadeh S, Handjani F. Lettuce as an Effective Remedy
        in Uremic Pruritus: Review of the Literature Supplemented by an In Silico Study.
        Evidence-Based Complementary and Alternative Medicine. 2022 Mar 29;2022.

    47. Parvizi MM, Ghahartars M, Jowkar Z, Saki N, Kamgar M, Hosseinpour P, Zare H, Sari
        Aslani F. Association of Non-Melanoma Skin Cancer with Temperament from the
        Perspective of Traditional Persian Medicine: A Case-Control Study. Iranian Journal
        of Medical Sciences. 2022 Apr 6.

    48. Shabankareh A, Amini M, Zarifsanaey N, Parvizi MM. Healthcare Staff’s Attitude
        toward the E-learning On-the-job Courses and its Association with Self-Assessment
        Effectiveness of these Programs. Interdisciplinary Journal of Virtual Learning in
        Medical Sciences. 2022 May 16.

    49. Parvizi MM, Salami MH, Moini Jazani A, Javaheri R, Jaladat AM, Handjani F.
        Complementary and integrative remedies in the treatment of chronic pruritus: A
        review of clinical trials. Journal of Cosmetic Dermatology. 2022 May 17.

    50. Niazi M, Parvizi MM, Saki N, Parvizi Z, Mehrbani M, Heydari M. Efficacy of a topical
        formulation of henna (Lawsonia inermis L.) on the itch and wound healing in
        patients with epidermolysis bullosa: A pilot single-arm clinical trial. Dermatol Pract
        Concept. 2022;12(3):e2022115.

 BOOK CHAPTER:

    1. Parvizi
             MM, Saki M, Handjani F, Heydari M. Olive in Traditional Persian Medicine: An
        Overview. Olives and Olive Oil in Health and Disease Prevention. 2021 Jan 1:175-92.

 PROFESSIONAL DEVELOPMENT:

• International Society for Complementary Medicine Research (ISCMR), Member since
       2016
• Iranian Society of Persian Medicine, Member since 2012
• The Medical Council of the Islamic Republic of Iran, Member since 2010
• Talented office, Shiraz University of Medical Sciences, Member since 2017
• Essence of Parsyan wisdom institute, Member since 2012
• Iranian EB Home, Member, since 2015
• EB Clinet Team, Member, Since 2020

TEACHING EXPERIENCE AND SCIENTIFIC CONSULTATION

• Principles of Iranian Traditional Medicine:Herbal Medicine:
                             CV, Dr. Mohammad M. Parvizi – page 8
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•   Traditional Persian Manuscripts
•   Dermatology manuscript
•   Thesis advisor of undergraduate students of medicine and para-medicine
•   Scientific consultation
•   Medical journalism

PEER REVIEWER FOR FOLLOWING JOURNALS:

•   Shiraz E Medical Journal
•   Dermatologic Therapy
•   Journal of Cosmetic Dermatology
•   Iranian Journal of Medical Sciences
•   Iranian Journal of Dermatology
•   Galen Medical Journal
•   Evidence-Based Complementary and Alternative Medicine
•   Journal of JundiShapur Educational Development (In Persian language)
•   Journal of Complementary and Integrative Medicine
•   Complementary Medicine Journal (In Persian language)
•   Traditional and Integrative Medicine
•   Journal of International Medical Research
•   BMC Complementary & Alternative Medicine
•   Interdisciplinary Journal of Virtual Learning in Medical Sciences
•   Middle East Journal of Cancer
•   Journal of Integrative and Complementary Medicine
•   BMC Psychology
•   PLoS One
•   Clinical Case Reports
•   SAGE Open Medical Case Reports
•   Tissue Engineering and Regenerative Medicine
•   Skin Research and Technology
•   Clinical, Cosmetic and Investigational Dermatology

AWARDS

•   Best researcher, School of Medicine, Islamic Azad University, 2010, 2011
•   Best medical student, School of Medicine, Islamic Azad University, 2010, 2011
•   Outstanding student of Shiraz University of Medical Sciences, 2015, 2016, 2017
•   Statue and Prize of Alborz Endowment Foundation, 2017
•   Shahid Motahhari Educational festival, 2017
•   Heel award for clinical research, Berlin, Germany, 2018
•   Outstanding researcher of Shiraz University of Medical Sciences, 2018

                              CV, Dr. Mohammad M. Parvizi – page 9
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• Persian Gulf Innovations and inventions Festival, Iran's National Elites Foundation, 2018
• Outstanding professor of Shiraz University of Medical Sciences, 2022




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                        EXHIBIT 4

 Iran Thalassemia Society v. OFAC

 MOLNLYCKE REJECTION LETTER
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                        EXHIBIT 5

 Iran Thalassemia Society v. OFAC

RAPPORTEUR DOULAN COMMENTS
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Persian unofficial translation below


Preliminary findings of the visit to the Islamic Republic of Iran by the Special
  Rapporteur on the negative impact of unilateral coercive measures on the
                         enjoyment of human rights
Tehran (18 May 2022), the United Nations Special Rapporteur on the negative
impact of unilateral coercive measures on the enjoyment of human rights, Prof.
Alena Douhan, visited the Islamic Republic of Iran from 7 to 18 May 2022 to
assess the negative impact of unilateral coercive measures on the enjoyment of
human rights of the Iranian people and others.
Good afternoon, ladies and gentlemen,
As a UN Human Rights Council mandate holder I have had a country visit to the
Islamic Republic of Iran (Iran) from 7 to 18 May 2022 to collect information in the
spirit of comprehensiveness, independence, impartiality and verification issues
pertaining to     the negative impact of unilateral coercive measures on the
enjoyment of human rights, secondary sanctions, as well as measures that
demonstrate over-compliance. Everything in this report is of a preliminary
character. A final report will be presented to the Human Rights Council in
September of this year.
I wish to warmly thank all my interlocutors for their availability to meet and for the
submitted information. All input will be thoroughly processed and analysed.
I also wish to thank the Government and the High Council for Human Rights for
the transparent and constructive way in which they facilitated this visit and
arranged all requested official meetings. I met many Government representatives
and their respective teams, including the Secretary General of the Islamic Republic
of Iran’s High Council for Human Rights; Vice-President for Women and Family
Affairs; Minister of Foreign Affairs; Minister of Justice; Minister of Interior; Head
of the Foreign Policy and National Security Commission; Head of the Human
Rights Committee and member of the Health Commission of the Iranian
Parliament; Deputy Minister of Health, Treatment and Medical Education; Deputy
Minister for Agricultural Affairs of the Ministry of Agriculture-Jihad; Deputy
Minister for International Affairs of the Ministry of Science, Research and
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Technology; Deputy Minister for Legal and International Affairs of the Ministry of
Foreign Affairs; Deputy Minister of the Ministry of Economic Affairs and Finance
and Head of Foreign Investment Organization; Deputy Minister of Petroleum;
Deputy Minister of Sport and Youth; Head of the Health Insurance Organization;
Head of the Food and Drug Organization; Head of the Center for International
Affairs of the Ministry of Education; Head of the State Welfare Organization; Head
of the Crisis Management Organization; Head of Civil Aviation Organization;
Head of Iran’s Chamber of Commerce; Head of the Social Security Organization;
Governor of Isfahan Province; as well as representatives from the Ministry of
Energy; Ministry of Industry, Mine and Trade; Ministry of Roads and Urban
Development; Ministry of Cooperatives, Labour and Social Welfare; Ministry of
Cultural Heritage, Tourism and Handicrafts; Plan and Budget Organisation and
Central Bank.
I met also with representatives of a number of civil society organisations from
different areas and sectors, healthcare providers, associations and charities,
representatives of public and private financial institutions, humanitarian actors,
businesses and academia. I also held consultations with UN entities, including
specialized agencies and programmes present in Iran, and with members of the
diplomatic community.
I take this opportunity to express my appreciation to the UN Resident Coordinator
and the whole UN country team for all their support during the visit.
Context
The United States has imposed economic, trade and financial sanctions on Iran
since the late -1970s, with a comprehensive trade ban since 1995 and measures to
isolate Iran from the international commercial and financial system. These were
expanded in the mid-2000s and again after 2010, extending to many economic
sectors. U.S. sanctions also targeted the Iranian Central Bank and commercial
banks.
The European Union adopted restrictive measures and comprehensive economic
and trade sanctions against Iran in 2010, supplemented by an oil embargo in 2012
and trade prohibitions involving key sectors, and the freezing of assets of the
Central Bank, the Iranian shipping and ship-building sector and a number of
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persons and entities, with significant restrictions on financial services and exports
and imports.
After the conclusion of the JCPOA, endorsed by the UN Security Council
resolution 2231 which terminated all the UNSC sanctions, the EU lifted its
sanctions except an arms and military technology embargo; and the United States
ceased application of sanctions as set forth in the JCPOA while still banning trade
and investment with Iran. On 8 May 2018 the United States unilaterally withdrew
from the JCPOA. It re-imposed all lifted sanctions, added new financial sanctions,
including by designating the Central Bank and several other Iranian banks. Most
foreign financial institutions have now left the Iranian market. Iranian assets frozen
in foreign accounts are estimated at USD 100-120 billion, and the US list of
designations includes more than 1700 individuals and entities.
Currently, the EU, the UK, Australia, Republic of Korea and others have unilateral
sanctions, asset freezes and travel bans against a vast number of individuals,
entities and trade restrictions. Canada imposed sanctions against key Iranian
economic sectors and restricts financial activity, and currently has above 200 listed
individuals and entities.
This environment has led to de-risking and over-compliance, and many actors have
disengaged from activities or relationships with Iran for fear of severe
consequences.
Impact of unilateral sanctions on special areas
Unilateral sanctions have been reported to have a multifaceted negative impact on
Iran’s economy and almost all sectors. Numerous studies demonstrate direct links
between trade bans and financial and other restrictions on economic indicators.
Sanctions on key sectors, including oil, which represented more than two third of
the country’s exports, led to a radical reduction in public revenues. Statistics show
that the re-imposition of unilateral sanctions since 2018 has had major adverse
effects on Iran’s trade and economy.
Furthermore, Iran’s GDP went from growing 3.8% in 2017 to minus 6% in 2018,
after the US withdrawal from the JCPOA and minus 6.3% in 2019, before the
COVID-19 outbreak, while it showed signs of slight recovery in 2020 and 2021.
Interlocutors highlighted the inflationary consequences of sanctions, with spiking
prices in basic goods and services, as well as medicines and medical devices,
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challenging the Government’s capacity to support those in need. Together with the
devaluation of the national currency, high unemployment and disruptions from the
COVID-19 pandemic, this has put enormous pressure on poor and vulnerable
segments of the population, causing additional social harm. Poverty rates have
been rising with over 3 million new poor in the period 2017-2019.
Numerous interlocutors have expressed their concerns about the serious effects of
Iran’s financial isolation. In practical terms, all sectors of the Iranian economy, and
the lives of Iranians inside and outside of the country, have been severely impacted
by the inability to make international payments using Iranian accounts, even for
staffs of international organizations and foreign diplomats. The designation of
Iran’s main financial institutions, including the Central Bank, asset freezes and
over-compliance by foreign financial institutions and businesses have been key
elements in this process. I have heard a number of testimonies spanning from the
inability to import and export goods and services, including for humanitarian
assistance, to suspensions of major infrastructure and development projects, the
inability to maintain memberships in international organisations and associations,
as well as the inability to implement joint academic and scientific projects, among
others.
There is evidence of a clear link between the imposition of sanctions and financial
and trade isolation policies on the one hand, and their adverse impacts on the
capabilities of the national healthcare system on the other. These not only concern
the supply and availability of medicines and medical devices but also budget
allocations for existing healthcare services as well as research and development of
new therapies and procedures. With the re-imposition of sanctions resulting in
rising costs and reduced supplies, including of raw materials for domestic
pharmaceutical production, a deterioration is observed in Iran’s national health
standards with particular impact on children, despite reported Government
initiatives to strengthen overall healthcare capacity through the development of
medical and pharmaceutical self-sufficiency with the strengthening of local
production and the increased number of general and specialized clinics,
pharmacies, and hospital beds in 2018-2020.
Of particular concern are significant challenges and obstacles in procuring and
delivery of life-saving medicines and medical devices to treat rare and severe
diseases, including certain cancers, thalassemia, haemophilia, multiple sclerosis,
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autism, epidermolysis bullosa (EB) and HIV/AIDS due to foreign companies’
over-compliance and restrictions on processing payments through the banking
system and deliveries. I was also informed about the reluctance of insurance
companies to insure air cargos, and about significant delays that caused deliveries
of medicines close to their expiration dates.
I received disturbing testimonies of shortages and exorbitant prices for medicines
and the loss of lives they have caused, and cases in which patients ration doses as
their dire economic situations force them to resell part of their medicine to cover
basic needs, including food. Prohibition of trade in some medical products deemed
by OFAC to be of dual use (civilian and military), such as asthma sprays, inhalers,
spectrophotometry, radioisotopes and radiology technologies has even worsened
the situation.
Although medicines and medical devices are technically not subject to sanctions,
the vagueness and complexity of the licensing processes, the persistent fear among
producers and suppliers, the restrictions in the processing of payments, and the
obstacles to shipping these goods have rendered them inaccessible to the Iranian
public, in particular to those most in need, in particular in remote and rural areas.
Government institutions and humanitarian non-government actors are striving to
find alternatives, incurring additional costs due to the involvement of brokers and
intermediaries.
The adverse effects of sanctions on healthcare have also been compounded by the
dire impact of COVID-19 in Iran. The government’s management of the pandemic
has been hindered by challenges in the procurement of vaccines through third
countries and the COVAX mechanism, due to delays in the approval of funds
transfers by foreign financial institutions to the World Health Organisation and
other problems due to unilateral sanctions, and the need to rely on the assistance
and responsiveness of UN specialised agencies and other sources to exceptionally
facilitate these transfers.
During the visit, I had also met with actors in the areas of social protection and
humanitarian assistance. The economic hardships coupled with the pandemic,
unilateral sanctions and over-compliance have led to a staggering rise in the
number of people needing support, with a reported five-fold to eight-fold increase
in the last two years. The sharp fall in Government revenues and private
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businesses’ donations and the inability to transfer international donors’ financial
support have led to a decrease in governmental and non-governmental social
support programmes.
Sanctions and the resulting economic pressures also have a pronounced gender
perspective. Economic sectors that traditionally employ women have been
particularly affected and an increasing number of women have entered the informal
economy to respond to the financial needs of their households. Per the information
received, the women’s unemployment rate is approximately twice that of men
(48% and 25% respectively). Several interlocutors also raised concerns about the
precarity of approximately 3 million female-headed households and of the
vulnerability of 9 million women who find themselves in low-income categories of
the population, and face difficulties in accessing basic services, including
healthcare. Worsening economic conditions and bank transfer bans have also
affected the elderly population. The high inflation has slashed their purchasing
power and increased significantly their medical costs.
Another important issue is the situation of persons with physical and mental
disabilities and the challenges they face in accessing the appropriate medicines and
medical devices, assistive and rehabilitation equipment, due to foreign suppliers’
over-compliance and obstacles in processing international payments, not to
mention the impact of the sanctions-induced economic downturn and its
consequences for the value of the social security benefits they receive. Costs of
some medicines and rehabilitation equipment have reportedly risen ten-fold
between 2018 and this year.
Iran hosts more than 5 million migrants and refugees, mostly of Afghan origin and
undocumented, and in need of humanitarian aid. The situation worsened after the
2021 Taliban takeover forced more than 850,000 Afghans to cross into Iran. The
Government has expressed its commitment to keep implementing inclusive
policies, including equal access to education and healthcare. However, due to the
economic impact of sanctions, the restrictions on financial transactions and
delivery of provisions, and donors’ reported reduced interest, compounded by the
pandemic outbreak, the costs of humanitarian assistance have jumped almost 50%.
This has harmed the ability of the Government and humanitarian actors to
implement projects, including providing basic goods and building schools and
health centers to benefit this vulnerable population
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Insufficient revenues have also undermined the Government’s capability to
maintain and improve essential infrastructure and engage in vital development
projects. The lack of access to the international financial system, disruptions in
processing payments and foreign businesses’ refusal to accept foreign currency
guarantees issued by Iranian banks have seriously affected Iran’s engagement in
international partnerships for such projects, and for developing and modernizing
Iran’s industries. Information received refers to the suspension of hydropower,
irrigation and water supply projects due to the non-disbursement of foreign funds
and the impossibility to attract investments and new technologies for necessary
upgrades in key industrial sectors, such as oil refineries, gas fields, power plants,
pipelines and power grids, with serious adverse effects on the daily lives of people,
as well as heightened environmental risks. Similar concerns have been raised in the
area of infrastructure, including roads, airports, land and air transport. As a result
of the Iranian airlines and shipping companies being designated by the US
Treasury, they cannot procure spare parts, equipment and associated services to
maintain and upgrade their respective fleets, raising the risks for airline passengers
for the former and the risks for water pollution due to leakages for the latter.
It has also been reported that sanctions prevent Iran – a disaster-prone country
experiencing 45 of the 47 types of natural disasters – from investing in disaster
response and recovery. Delays in receiving financial allocations for emergency
interventions and in the delivery of life-saving medicines and equipment are
reported to extend from 1 week up to a year, due to banking transaction
restrictions. The restrictions also prevent aid organisations from receiving financial
support and donations from abroad, while procurement of search-and-rescue
helicopters and air-ambulances is almost impossible due to the failure to secure
financing and the fact that they may be deemed “dual-use”.
Similar impediments are reported by interlocutors engaged in the arts and in
matters pertaining to cultural heritage. I received information about the
discontinuation of international donations, the inability to participate in
international events due to travel restrictions or to host international events due to
the reluctance of foreign counterparts to collaborate for fear of repercussions, and
the inability to maintain memberships and international partnerships, including for
the scientific assessment and preservation of cultural heritage sites.
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Prohibition of exports, bank transfers, secondary sanctions and the mere fear of
sanctions, have translated into a pervasive climate of over-compliance,
undermining transfers of technology, knowledge, intellectual and cultural
cross-fertilisation. They have hampered mutual enrichment through the access to
exchanges of experience, knowledge and expertise between Iranian and foreign
researchers. Iranian scientists report on having limited or no access to international
medical and other scientific fora; foreign scientists, scholars and researchers have
refused or hesitated to risk attending scientific events in Iran, out of fear of
reputational risk or of being refused future entry into the United States.
Subscriptions to medical and other scientific journals, as sources of research and
knowledge, have been suspended or stopped because Iranian subscribers could not
pay the subscription fees.
Research and academic articles submitted to international journals for publication
have been refused simply because their authors were Iranian. Access to foreign
universities, institutes or research centres have been restricted or prohibited.
Student exchanges and scholarships to study abroad have been cancelled. Scientists
on editorial boards of scientific journals have been reluctant to work with Iranian
counterparts, and have either hesitated or refused to review or publish their
research papers because they fear problems due to US sanctions. Parents in Iran
have not been able to transfer enough money to the bank accounts of their children
studying abroad because, according to the banks, the money was coming from Iran.
Iranian students abroad have had their bank accounts closed due to their
nationality. Iranians going abroad for professional reasons cannot book hotel rooms
because they do not have international credit or payment cards, and must pay in
cash or through third parties.
The re-imposition of sanctions has also led to a sharp fall in tourism and the loss of
thousands of jobs, both in the tourism sector and among those – often women – in
rural areas who make handicrafts. They have also prevented foreign tourists from
enjoying Iran’s rich cultural heritage as one of the oldest civilisations, due to the
impossibility to pay in ways other than cash. Iran’s artistic scene has also suffered
from the sanctions.
In breach of the Olympics Charter, which provides that sport and politics should
not be mixed, Iranian athletes have been unable to procure internationally approved
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sporting equipment; they have been denied training opportunities abroad and entry
visas to participate in some of international competitions.
A local NGO researching international best practices to treat child drug addicts has
been refused access to models developed by a US institution. It has taken 8 months
for the same organisation, which also assists Afghan refugees, to identify a bank in
Europe that would accept receiving EU funding to support one of its projects in
Iran. The Iranian Autism Association, which provides assistance to 6,000 families,
has not been able to access new therapies which are being developed outside the
country because relevant institutions are refusing to cooperate with it.
Similar situation concerns participation of Iran in international cooperation. In
particular, Iran’s membership in international organisations, including the United
Nations system, has been suspended because the state could not transfer its dues
via the banking system. Among others, it was unable to pay its fees to UNESCO
and its voting rights in the WHO were suspended for the same reason. The Iranian
Chamber of Commerce has not been able to pay its fees to the International
Chamber of Commerce, risking losing its membership and the advantages attached
to it, as well as inability to transfer funds to international arbitral tribunals. Iranian
diplomats in Europe have been denied the right to open bank accounts in countries
where they were posted, making the payment of their salaries and of their living
expenses complicated. Foreign diplomats posted in Iran have not been able to
transfer money from their banks at home to Iran.
United Nations assistance, over-compliance and humanitarian exemptions
The work of UN agencies, be it development, technical assistance or humanitarian,
is often hampered by sanctions. Often, more than sanctions themselves, the fear of
sanctions fosters a climate of over-compliance by banks, suppliers and other
foreign actors, public as well as private, which has undermined the UN’s work by
hurting its efforts more than sanctions themselves.
According to OFAC, food and medicine are supposed to be exempt from sanctions
on humanitarian grounds. While this may be true on paper, the procurement of
these goods implies the cooperation of producers, suppliers, transporters and banks
– a cooperation which is not forthcoming amid their fear of sanctions.
Humanitarian exemptions have been granted on a case by case basis and their
effective implementation requires good planning, transparent negotiation,
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communication and effective logistics. Even in such cases, over-compliance by
intermediary banks can hinder the process. Almost always, banks – relying on their
legal and risk advisors – refuse the transactions, delaying or obstructing the stream
of humanitarian aid.
Fears of sanctions has sometimes depended on individual perceptions of the risks,
much unpredictability, and a tendency by relevant actors (banks, suppliers, donors)
to take zero risk and protect their interests. As procurement processes to implement
projects usually takes a lot of time and involves lengthy discussions, procedures
and negotiations due to sanctions; often orders are cancelled at the last minute and
must be re-advertised, prolonging delays, raising costs and deferring the delivery
of aid.
As for critical health supplies, this has had detrimental, irreparable and sometimes
lethal effects on patients. An experienced UN official noted that he had never faced
so much difficulty to bring life-saving equipment into a country. As a result, for
instance, UN assistance efforts in 2019-2020 were seriously hampered when 25
provinces were affected by severe floods, affecting an estimated 2 million people.
Several countries that were ready to provide aid, could not, because of sanctions.
Access to foreign satellite imagery was denied. Iran, which is earthquake-prone,
has not been able to purchase specialised equipment to reduce the risks: shaking
tables for buildings, which are made in Japan, cannot be purchased.
Helicopters, sometimes the only way to reach affected areas and victims, cannot be
bought often with reference to their possible dual use, and those available cannot
always be maintained because of the difficulty or impossibility to obtain spare
parts. The same applies to the maintenance, renovation or replacement of
ambulances and other medicalised vehicles.
Because of over-compliance, the difficulties and concerns reported by
humanitarian actors in procuring essential goods, which often include life-saving
ones, are shared by private businesses. They indeed confirmed that the same
constraints have been so stringent that they have made life very difficult,
discouraging them to invest because of the difficulties or impossibility to conduct
financial transactions. A key trade actor confirmed that the weight of secondary
sanctions deepened the negative impact of sanctions, undermining the economy,
increasing poverty and threatening the health and nutrition of the most vulnerable,
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and that “secondary sanctions were worse than the sanctions themselves”. For
these reasons, private actors have stated that doing business with Iran had become
a high-risk venture.
Assessment of legality
In view of the complexity of unilateral sanctions imposed against Iran’s economy,
nationals and companies, the current assessment reflects only a few relevant
aspects.
In particular, the state of national emergency announced by the U.S. Government
in 1995 as the ground for sanctions against Iran, last extended in March 2022 for
another year, does not correspond to the requirements of art. 4 of the International
Covenant on Civil and Political Rights (ICCPR), such as the existence of a threat
to the life of the nation, the limiting of measures to the exigencies of the situation,
a limited duration, the absence of discrimination, and the prohibition to derogate
from the right to life or to punish activity that does not constitute a criminal
offence.
I reiterate that under international law unilateral measures without or beyond
authorization of the UN Security Council may only be taken if they do not violate
international obligations of states (retortions) or if their wrongfulness can be
excluded as countermeasures taken in accordance with standards of law of
international responsibility: to be applied against states for violations of
international legal norms, to aim to restore the fulfillment of international
obligations, to be proportional to the breach occurred, to be necessary, and to not
violate peremptory norms of international law and fundamental human rights.
I also remind that Central Bank assets and property used for public purposes is
recognized to enjoy full immunity from foreign jurisdiction and seizure, so states
can exercise the obligation to guarantee enjoyment of human rights on their
territory.
Furthermore, maximum pressure policies and campaigns as well as threats
addressing third states, companies and individuals violate the principle of
cooperation between states, the principle of peaceful settlement of international
disputes, and the principles of sovereign equality and non-intervention in the
domestic affairs of states.
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I am also concerned that existing unilateral targeted sanctions as a punitive action
violate, at the very least, obligations arising from universal and regional human
rights instruments, many of which have a peremptory character, including
procedural guarantees and presumption of innocence.
Besides that, applying extraterritorial jurisdiction to nationals and companies of
third states for cooperation with Iranian public authorities, nationals and
companies, companies cooperating with Iran or dealing with Iranian products, or
with reference to the use of the USD for payment or as an instrument in the process
of converting money, by imposing secondary sanctions, and alleged threats to such
third-state parties, is illegal under international law and increases the risks of
over-compliance.
Preventing Iranian diplomatic, consular and special missions and staff members
from opening and maintaining bank accounts and exercising diplomatic and
consular functions do not conform to provisions of the Vienna conventions on
diplomatic and consular relations. Impeding payments of Iran’s assessed and
voluntary contributions to international organizations prevents its engagement with
them, creating the risk of suspension of voting rights and violating the principles of
sovereign equality of states and cooperation in good faith.
It follows that unilateral sanctions against Iran do not conform to a broad number
of international legal norms, are introduced to apply pressure on a state, cannot be
justified as countermeasures under the law of international responsibility, and
therefore can be qualified as unilateral coercive measures repeatedly condemned in
resolutions of the UN Human Rights Council and the UN General Assembly.
      Conclusions
Primary unilateral sanctions, secondary sanctions, threats of sanctions, de-risking
policies and over-compliance with sanctions have been substantially exacerbating
humanitarian situations in Iran.
Sanctions imposed on main export goods, designation of all Iranian banks along
with a long list of companies and nationals, including some engaged in
pharmaceuticals and food production, have resulted in reduced state revenue,
inflation, growing poverty, insufficient resources to guarantee basic needs of
people with low incomes and other vulnerable groups, including people suffering
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from rare or severe diseases, disabled people, Afghan refugees, women-led
households and children.
They have also prevented the Government from having resources to develop and
maintain essential infrastructure including hospitals, schools, housing, refineries,
roads, civil aviation, tankers and many others, and to maintain the necessary level
of readiness to respond to natural disasters; and have resulted in the reduction of
social support programs and prevented implementation of academic, cultural,
environment and development projects, with a devastating effect on Iran’s whole
population.
The stated readiness and threats to impose secondary sanctions, criminal and civil
penalties against individuals and companies circumventing unilateral sanctions
regimes, as well as de-risking policies and over-compliance by third-country banks
and private companies has resulted in growing problems to transfer or receive
money when natural or legal persons of Iran are participants in the transactions,
including closing long-established bank accounts; extending the length and costs of
bank transfers, and creating the need to do transactions via third-country nationals
or seek alternative ways of payments and procurement, which are often impossible
or entail long delays, misuse of the situation by the third parties, deliveries of
low-quality or counterfeit materials, reagents, medicine may cause various
challenges in economic, social, crime prevention, and cultural fields
Preventing Iran from participating in international cooperation by impeding its
ability to pay membership fees for international organizations, or to have
inter-parliamentary cooperation, hampers Iran from international cooperation and
prevents the fulfillment of the right to development.
I note with concern that due to the unavailability of new machinery, spare parts,
software and technologies, frozen assets in a number of countries, and the lack of
access to emergency loans, Iran’s people are affected by impediments to gasoline
supplies, health care, adequate mechanisms of monitoring and responding to
natural disasters, and face deteriorating situations with transportation and
environmental security, maintenance of critical infrastructure, implementation of
innovative technologies, growing risks of oil, air and land pollution, and
deteriorating working conditions that affect economic and social rights and the
rights to health and to life.
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I underline that reduced revenues from the export of goods, low salaries and the
deteriorating economic situation, and inflation have reduced the capability of the
Government to maintain the level of social support it used to exercise in the
spheres of food, health and housing, affecting thus the right to food, freedom from
poverty, right to a decent life, right to health, and economic and social rights.
While recognizing the existence of OFAC general licenses for procuring and
delivering with exemptions medical and agricultural goods to Iran, in practice
humanitarian exemptions for food and medicine appear ineffective and nearly
non-existent due to the real or alleged fear of secondary sanctions, civil and
criminal charges, reported “advice” not to do any business in Iran, the
impossibility, complexity, uncertainty and length of bank payments and good
deliveries. This affects the whole scope of human rights of the Iranian people.
The refusal by producers of medicines and medical devices, raw materials, food
stuff and agricultural commodities , spare parts, software, vaccines for human
beings and livestock, seeds, fertilizers and other essential goods to conclude
contracts with Iranians, the rejection of banks to do any transaction, and of
transportation companies to guarantee deliveries, has resulted in documented
growing mortality and disability rates of people with rare and severe diseases;
greater deliveries and use of low-quality, expired and counterfeit medicine and
medical equipment; deterioration of health status; and lower food production,
reducing the life expectancy of people with disabilities and inevitably violating the
rights to food and to health and eroding their quality of life, violating the right to
live in dignity without pain and the right to life.
The whole scope of unilateral sanctions together with secondary sanctions and
over-compliance, rejection of producers, banks and delivery companies to deliver
essential goods has forced Iranian public institutions, private companies and
individuals to look for alternative ways to participate in international trade by
involving third parties, using informal and opaque mechanisms of trade, payments
and delivery, facilitating poverty and low living standards, and violating economic
and social rights.
The reported reluctance of foreign partners to cooperate with Iranian educational
institutions, professional and amateur sport societies, cultural institutions, artists,
technology and other companies, as well as cutting the possibility to transfer
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money, difficulties in getting visas, exclusion of Iranian scholars from editorial
boards abroad and growing rejection of journals to assess and edit articles
submitted by Iranian scholars, shrinking possibilities for Iranian students and
scholars for research grants and scholarships, or getting access to foreign
academic, technological and medical databases and libraries due to their Iranian
nationality, and discrimination based on the country of the IP address all constitute
discrimination on the ground of nationality, affecting the right to education as well
as international academic, sports and cultural cooperation, innovation, academic
freedoms and cultural rights, preventing cooperation and dialogue in all of the
abovementioned areas.
Economic challenges arising from UCMs and lack of international cooperation
based on shared responsibility prevent the Government of Iran from providing
sustainable assistance to the most vulnerable categories of the population,
including the Afghan refugees. While welcoming Iran’s efforts to provide equal
access for Afghan refugees, both documented and undocumented, I note that
insufficient revenue prevents the Government from developing schools, hospitals
and urban infrastructure,
Unilateral sanctions and over-compliance, alongside with reduced bilateral and
international cooperation, deteriorate economy and adversely affect the right to
employment, right to decent work, especially for the poorest population groups,
and hamper effective crime prevention, increase drug use and also hamper
economic and social security.
I welcome the efforts and measures of the Government of the Islamic Republic of
Iran to mitigate the negative impact of unilateral sanctions in different sectors,
especially for the most vulnerable population categories, including Afghan
refugees. However, while this reduces the direct impact on human rights, it shall
not be used as a ground to legitimize the use of unilateral sanctions.
Unilateral sanctions on deliveries, insurance of transportation and Iran’s banking
system and over-compliance by companies and banks seriously impede
humanitarian organizations and associations from providing humanitarian
assistance and deliveries, being somehow easier for international humanitarian
non-governmental organizations receiving donations from the EU and its member
states. The above impediments result in higher legal and bank fees, delays in
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deliveries even of life-saving medicine and medical devices, reduced donations
from private donors, and the reported impossibility to transact and transfer money
to procure and deliver goods, forcing the use of alternative, often non-secure ways
of delivery, with risks for the quality of medicine and equipment, raising costs and
therefore reducing operational capabilities. Humanitarian organizations are
reported to function while risking civil and criminal charges from the United States
for interacting with Iranian entities and their humanitarian activity in Iran. The
application process for licenses is lengthy, unsure and very expensive, undermining
the possibility of delivery to Iran even of purely humanitarian goods like medicine,
medical equipment and food.


      Recommendations
I remind all parties of their obligation under the UN Charter to observe principles
and norms of international law, including principles of sovereign equality, political
independence, non-intervention in the domestic affairs of states, and peaceful
settlement of international disputes.
I urge all international and national stakeholders to stop immediately using the
rhetoric of sanctions as a political instrument or a means to get economic
advantages, and to engage in dialogue to settle disputes in accordance with
principles and norms of international law, while assessing, preventing and
monitoring the humanitarian impact.
I call on sanctioning states, in particular the United States, to lift all unilateral
measures imposed against Iran, Iranian nationals and companies without
authorization of the UN Security Council and whose use cannot be justified as
retortions or countermeasures in accordance with international law, especially as
concerns trade, delivery, insurance and payment impediments for the development
and maintenance of critical infrastructure including food, medicine and medical
equipment, water, sanitation and electricity supply systems, mechanisms allowing
for communications and transportation, among other things, that are essential for
the population to enjoy the entire range of human rights and guarantees of health,
food and transportation security. I also remind that no good intention justifies the
violation of fundamental human rights.
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I urge the U.S. Government to cease the state of national emergency that is not in
accordance with the ICCPR, and to align national legislation with international
law, including human rights law, refugee law and the law of international
responsibility.
I call on all interlocutors (including states, international organizations, banks,
private companies , civil society and other stakeholders) to avoid coercion, written
or oral threats or any other act which may cause or result in the application of own
or third country unilateral sanctions or over-compliance, and to interpret all
limitations including the qualification of goods and equipment as dual-use, in the
narrowest possible way in the interim period before the lifting of unilateral
sanctions.
I urge States that froze assets of the Central bank of Iran to unfreeze them in
accordance with customary norms of international law on the immunity of state
property, so the Government may fully carry out its responsibility to implement
fully its obligation to promote and protect human rights.
I call on all banks and private companies to act in accordance with the Guiding
Principles on Business and Human Rights to avoid over-compliance and the
consequent violation of rights of nationals and residents of Iran, especially as
regards critical infrastructure, on the first hand – delivery of medical equipment,
spare parts, medicine, raw materials for medicine production, especially as
concerns rare and serious diseases. I also recommend the Government to consider
the possibility of alternative ways of payment for the delivery of humanitarian
goods.
I remind all states and regional organizations of the obligation to comply with the
principle of due diligence, and to take all necessary measures to guarantee that
activity under their jurisdiction and control will not affect the human rights of
people within and beyond national borders. Violating international obligations by
states – including the one of due diligence to guarantee that activity under their
jurisdiction and control does not cause damage to nationals, residents and
companies of third states – establishes a valid ground for responsibility in
accordance with international law. I also call on regional and national judicial
institutions to consider sanctions-related cases with due diligence, preventing the
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prioritization of de-risking policies and economic concerns over international
economic and human rights obligations.
I urge states which impose sanctions against Iran, Iranian nationals and companies
to ensure that the Islamic Republic of Iran is able to pay assessed and voluntary
contributions to international organizations, Iranian diplomatic, consular and
special missions, and that staff members receive entrance permits without any
impediments, enjoy the possibility to open and keep bank accounts and exercise
diplomatic and consular functions free from any risk of freezing mission accounts
in full conformity with the principle of sovereign equality of states, immunity of
state property and the Vienna conventions on diplomatic, consular relations and
special missions.
I urge the states participating in the JPCOA and the USA to continue negotiations
in the good faith.
I also request banks, sports, cultural and academic institutions, organizations and
associations to guarantee and facilitate the possibility for Iranian scholars, artists
and sportsmen to engage in international cooperation under the uniformly
recognized (including within the UN, UNESCO and other) obligations and
initiatives that educational, sports and cultural cooperation and exchanges are
inalienable means of achievement of the Sustainable Development Goals, conflict
prevention and maintenance of peace and security worldwide. I urge all parties to
ensure free access to information and the possibility to exercise freedom of
expression, with any limitations in the digital world fully conforming with Art.
19–20 of the ICCPR.
I welcome the reported cooperation of the Government with the UN Country Team
and UN specialized agencies present in Iran in the humanitarian area, and
encourage the Government and the OHCHR to engage in a genuine and mutually
respectful dialogue aimed at promoting and protecting human rights through a
programme of technical cooperation as well as through interaction with Special
Procedures mandate holders.
I urge UNCT, UNICEF, UNDP and UNAIDS to further engage with producers and
relevant states, and help Iran procure proper quality medicines, raw materials,
medical equipment and spare parts for treating rare and severe diseases including
EB, thalassemia, hemophilia, HIV, cancer, hemophilia, autism, MSA and diabetes.
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While welcoming and acknowledging efforts and measures to host the growing
number of Afghan refugees, besides lifting unilateral sanctions to enhance the
Government’s capability to provide necessary services and care to them, I call on
the international community to provide adequate substantial assistance for Iran for
this activity.
I call on the UN Country Team in Iran, UN specialized agencies and organizations,
and relevant humanitarian organizations to engage in meaningful cooperation with
Iran to mitigate the negative impact of unilateral sanctions on human rights in Iran
within their spheres of responsibility, to ensure observance of the rule of law and
human rights, and the achievement of the Sustainable Development Goals.
Mindful of the obligation of all states to settle international disputes by peaceful
means, I welcome the submission of the case to the ICJ on the violation of the
1955 Treaty of Amity, Economic Relations, and Consular Rights, and call on all
parties to use judicial mechanisms to settle existing disputes, to cooperate in good
faith to prevent such disputes through negotiations, and to use all available
mechanisms to protect human rights affected by UCMs, including the UN treaty
bodies, European Court of Justice and the ECHR. I call on other Special
Procedures to pay due attention to the impact of unilateral sanctions against Iran on
the people of Iran.
I call on the office of the High Commissioner, UN treaty bodies, OCHA and other
UN institutions working together with the Special Rapporteur to get engaged in
developing compensation, remedial and redress mechanisms for victims of human
rights violations due to UCMs. I also invite all stakeholders – states, international
organizations, NGOs, banks and businesses – to launch multilevel discussions to
develop Guiding Principles on secondary sanctions, over-compliance and human
rights in order to protect human rights, prevent de-risking that entails
over-compliance, and introduce due diligence principles in international
cooperation, banking and business activity.
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‫)ترجمه غیررسمی از متن انگلیسی(‬



‫یافته‌های اولیه بازدید گزارشگر ویژه سازمان ملل متحد از جمهوری اسالمی ایران در مورد‬
            ‫آثار منفی اقدامات یک‌جانبه قهرآمیز بر بهره‌مندی از حقوق بشر‬


‫تهران‪ ۲۸ ،‬اردیبهشت ‪ - ۱۴۰۱‬پروفسور آلنا دوهان‪ ،‬گزارشگر ویژه سازمان ملل متحد در مورد آثار‬
‫منفی اقدامات یک‌جانبه قهرآمیز بر بهره‌مندی از حقوق بشر‪ ،‬از ‪ ۱۷‬الی ‪ ۲۸‬اردیبهشت ‪ ۱۴۰۱‬برای‬
‫ارزیابی آثار منفی اقدامات یک‌جانبه قهرآمیز بر بهره‌مندی مردم ایران و اتباع دیگر از حقوق بشر ‪ ،‬از‬
                                                                ‫جمهوری اسالمی ایران بازدید کرد‪.‬‬


                                                                       ‫عصر بخير خانم‌ها و آقايان‪،‬‬


‫در چارچوب مأموریت خود در شورای حقوق بشر سازمان ملل متحد‪ ،‬در تاریخ ‪ ۱۷‬الی ‪ ۲۸‬اردیبهشت‬
‫‪ ۱۴۰۱‬از جمهوری اسالمی ایران بازدید کردم تا با حفظ اصول جامعیت‪ ،‬استقالل‪ ،‬بی‌طرفی‪ ،‬و‬
‫راستی‌آزمایی‪ ،‬درباره مسائل مربوط به آثار منفی اقدامات یک‌جانبه قهرآمیز بر بهره‌مندی از حقوق بشر‪،‬‬
‫تحریم‌های ثانویه‪ ،‬و نیز رعایت افراطی تحریم‌ها‪ ،‬اطالعات و مستنداتی را گردآوری کنم‪ .‬گزارش حاضر‬
‫هنوز گزارشی مقدماتی است و گزارش نهایی در سپتامبر سال جاری به شورای حقوق بشر ارائه خواهد‬
                                                                                             ‫شد‪.‬‬
‫مایلم از همه مشارکت‌کنندگان که برای انجام دیدارها و در اختیار گذاشتن اطالعات وقت صرف کردند‪،‬‬
           ‫صمیمانه تشکر کنم‪ .‬تمام نظرات جمع آوری شده به طور کامل پردازش و تحلیل خواهد شد‪.‬‬
‫همچنین مایلم از دولت و ستاد حقوق بشر ایران برای تسهیل این بازدید و ترتیب دادن کلیه جلسات رسمی‬
‫درخواست شده با روشی شفاف و سازنده‪ ،‬تشکر کنم‪ .‬من با بسیاری از مسئولین دولتی و همکاران آنان‪ ،‬از‬
‫جمله دبیر ستاد حقوق بشر جمهوری اسالمی ایران؛ معاون رئیس جمهور در امور زنان و خانواده؛ وزیر‬
‫امور خارجه؛ وزیر دادگستری؛ وزیر کشور؛ رئیس کمیسیون سیاست خارجی و امنیت ملی؛ رئیس‬
‫کمیسیون حقوق بشر و عضو کمیسیون بهداشت و درمان مجلس شورای اسالمی؛ معاون وزیر بهداشت‪،‬‬
‫درمان و آموزش پزشکی؛ معاون امور زراعت وزارت جهاد کشاورزی؛ معاون امور بین الملل وزارت‬
‫علوم‪ ،‬تحقیقات و فناوری؛ معاون حقوقی و امور بین‌الملل وزارت امور خارجه؛ معاون وزیر امور‬
‫اقتصادی و دارایی و رئیس سازمان سرمایه گذاری‌های خارجی؛ معاون وزیر نفت؛ معاون وزیر ورزش و‬
‫جوانان؛ رئیس سازمان بیمه سالمت؛ رئیس سازمان غذا و دارو؛ رئیس مرکز امور بین الملل وزارت‬
‫آموزش و پرورش؛ رئیس سازمان بهزیستی کشور؛ رئیس سازمان مدیریت بحران کشور؛ رئیس سازمان‬
‫هواپیمایی کشوری؛ رئیس اتاق بازرگانی ایران؛ رئیس سازمان تامین اجتماعی؛ استاندار اصفهان؛ و‬
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‫همچنین نمایندگانی از وزارت نیرو؛ وزارت صنعت‪ ،‬معدن و تجارت؛ وزارت راه و شهرسازی؛ وزارت‬
‫تعاون‪ ،‬کار و رفاه اجتماعی؛ وزارت میراث فرهنگی‪ ،‬گردشگری و صنایع دستی؛ سازمان برنامه و‬
                                                     ‫بودجه؛ و بانک مرکزی مالقات کردم‪.‬‬
‫من همچنین با نمایندگان تعدادی از سازمان‌های جامعه مدنی فعال در حوزه‌ها و بخش‌های مختلف‪ ،‬ارائه‬
‫دهندگان خدمات بهداشتی‪ ،‬انجمن‌ها و موسسات خیریه‪ ،‬نمایندگان مؤسسات مالی دولتی و خصوصی‪،‬‬
‫فعاالن امور بشردوستانه‪ ،‬مشاغل و دانشگاه‌ها دیدار کردم‪ .‬همچنین با نهادهای سازمان ملل متحد‪ ،‬از جمله‬
   ‫کارگزاری‌ها و برنامه‌های تخصصی حاضر در ایران‪ ،‬و با اعضای جامعه دیپلماتیک نیز رایزنی کردم‪.‬‬
‫فرصت را مغتنم شمرده از هماهنگ‌کننده مقیم سازمان ملل متحد و کل تیم کشوری سازمان ملل متحد برای‬
                                             ‫همه حمایت‌هایشان در طول این دیدار قدردانی می‌کنم‪.‬‬
                                                                                        ‫پس زمینه‬
‫ایاالت متحده آمریکا از اواخر دهه ‪ ۱۹۷۰‬میالدی تحریم‌های اقتصادی‪ ،‬تجاری و مالی و از ‪۱۹۹۵‬‬
‫ممنوعیت گسترده تجارت و اقداماتی برای منزوی کردن ایران از سیستم تجاری و مالی بین‌المللی علیه این‬
‫کشور اعمال کرده است‪ .‬این تحریم‌ها در اواسط دهه ‪ ۲۰۰۰‬و دوباره پس از ‪ ۲۰۱۰‬تشدید شدند و به‬
‫بسیاری از بخش‌های اقتصادی گسترش یافتند‪ .‬تحریم‌های آمریکا‪ ،‬بانک مرکزی ایران و بانک‌های تجاری‬
                                                                         ‫را نیز هدف قرار داده است‪.‬‬
‫اتحادیه اروپا در ‪ ۲۰۱۰‬تمهیدات محدودکننده و تحریم‌های اقتصادی و تجاری جامعی را علیه ایران به‬
‫تصویب رساند که تحریم نفتی در ‪ ۲۰۱۲‬و ممنوعیت‌های تجاری مربوط به بخش‌های مهم و اساسی و‬
‫مسدود کردن دارایی‌های بانک مرکزی‪ ،‬بخش کشتیرانی و صنعت کشتی‌سازی ایران و تعدادی از افراد و‬
        ‫نهادها‪ ،‬و نیز محدودیت‌های قابل توجه در خدمات مالی و صادرات و واردات نیز به آن اضافه شد‪.‬‬
‫پس از انعقاد برجام‪ ،‬که با تایید قطعنامه ‪ ۲۲۳۱‬شورای امنیت سازمان ملل متحد تمامی تحریم‌های شورای‬
‫امنیت سازمان ملل متحد را خاتمه داد‪ ،‬اتحادیه اروپا نیز همه تحریم‌های خود را به استثنای تحریم‌های‬
‫تسلیحاتی و فناوری نظامی لغو کرد‪ .‬ایاالت متحده اعمال تحریم‌های مندرج در برجام را متوقف کرد‪ ،‬اما‬
‫تجارت با ایران و سرمایه گذاری در این کشور را همچنان ممنوع اعالم کرده بود‪ .‬سرانجام در ‪۱۸‬‬
‫اردیبهشت ‪ ۱۳۹۷‬ایاالت متحده به طور یکجانبه از برجام خارج شد‪ ،‬همه تحریم‌های لغو شده را دوباره‬
‫وضع کرد‪ ،‬و محدودیت‌های مالی جدیدی اضافه و از جمله بانک مرکزی ایران و چندین بانک دیگر‬
‫ایرانی را در لیست تحریمها قرار داد‪ .‬اکثر موسسات مالی خارجی اکنون بازار ایران را ترک کرده اند‪.‬‬
‫دارایی‌های مسدود شده ایران در حساب‌های خارجی بین ‪ ۱۰۰‬تا ‪ ۱۲۰‬میلیارد دالر تخمین زده می شود و‬
          ‫فهرست نهادها و افراد تحریم شده توسط ایاالت متحده شامل بیش از ‪ ۱۰۰۰‬شخص و نهاد است‪.‬‬
‫در حال حاضر‪ ،‬اتحادیه اروپا و چندین کشور از جمله بریتانیا‪ ،‬استرالیا و جمهوری کره تحریم‌های‬
‫یکجانبه‪ ،‬مسدود کردن دارایی‌ها و ممنوعیت سفر علیه تعداد زیادی از افراد و نهادها و محدودیت‌های‬
‫تجاری خاصی را علیه ایران اعمال کرده اند‪ .‬کانادا علیه بخش‌های کلیدی اقتصاد ایران تحریم‌هایی تحمیل‬
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‫کرده و فعالیت‌های مالی را محدود می‌کند و در حال حاضر بیش از ‪ ۲۰۰‬فرد و نهاد را در فهرست‌‬
                                                            ‫تحریم‌های خود قرار داده است‪.‬‬
‫این فضا منجر به ریسک زدایی و تبعیت بیش از حد از تحریم‌ها شده است و بسیاری از شرکت‌ها از بیم‬
                                     ‫مجازات‌های شدید از روابط تجاری با ایران کناره‌گیری کرده‌اند‪.‬‬
                                                    ‫تاثیر تحریم‌های یکجانبه در حوزه‌های مختلف‬
‫گزارش شده است که تحریم‌های یکجانبه آثار منفی چندجانبه بر اقتصاد ایران و تقریبا همه بخش‌های‬
‫مختلف داشته‌است‪ .‬مطالعات متعددی ارتباط مستقیم بین ممنوعیت‌های تجاری و محدودیت‌های مالی و سایر‬
‫محدودیت‌ها بر شاخص‌های اقتصادی را نشان می‌دهد‪ .‬اعمال تحریم‌ها بر بخش‌های اساسی از جمله‬
‫صنعت نفت‪ ،‬که بیش از دو سوم صادرات کشور را تشکیل می‌داد‪ ،‬منجر به کاهش شدید درآمدهای‬
‫عمومی شده است‪ .‬آمارها نشان می‌دهد که اعمال مجدد تحریم‌های یکجانبه از ‪ ۲۰۱۸‬اثرات نامطلوب عمده‬
                                                         ‫ای بر تجارت و اقتصاد ایران داشته است‪.‬‬
‫عالوه بر این‪ ،‬تولید ناخالص داخلی ایران از رشد ‪ ۳.۸‬درصدی در ‪ ۲۰۱۷‬به منفی ‪ ۶‬درصد در ‪۲۰۱۸‬‬
‫یعنی پس از خروج آمریکا از برجام‪ ،‬و منفی ‪ ۶.۳‬درصد در ‪ ۲۰۱۹‬قبل از شیوع کووید‪ ۱۹-‬رسید‪ ،‬در‬
‫حالی که نشانه‌هایی از بهبود جزئی در سال‌های ‪ ۲۰۲۰‬و ‪ ۲۰۲۱‬دیده می‌شود‪ .‬مصاحبه شوندگان بر اثرات‬
‫تورمی تحریم‌ها و در نتیجه افزایش قیمت کاالها و خدمات اساسی و همچنین دارو و تجهیزات پزشکی‬
‫تاکید کردند که در نتیجه آن‪ ،‬توان دولت برای حمایت از نیازمندان کاهش یافته است‪ .‬این امر همراه با‬
‫کاهش ارزش پول ملی‪ ،‬تشدید بیکاری و مشکالت ناشی از بیماری همه گیر کووید‪ ،۱۹-‬فشار زیادی را بر‬
‫اقشار فقیر و آسیب پذیر جامعه وارد کرده و آسیب‌های اجتماعی بیشتری را به دنبال داشته است‪ .‬نرخ فقر‬
                               ‫با بیش از ‪ ۳‬میلیون فقیر جدید در دوره ‪ ۲۰۱۹-۲۰۱۷‬افزایش یافته است‪.‬‬
‫بسیاری از مصاحبه شوندگان نگرانی‌های خود را درباره اثرات جدی انزوای مالی ایران ابراز کرده‌اند‪.‬‬
‫در عمل‪ ،‬همه بخش‌های اقتصاد ایران و زندگی ایرانیان داخل و خارج از کشور‪ ،‬به علت عدم امکان‬
‫پرداخت‌های بین‌المللی با استفاده از حساب‌های بانکی ایرانی‪ ،‬به شدت آسیب دیده است؛ این امر حتی‬
‫کارکنان سازمان‌های بین‌المللی و دیپلمات‌های خارجی را نیز تحت تأثیر قرار داده است ‪ .‬تحریم موسسات‬
‫مالی اصلی ایران‪ ،‬از جمله بانک مرکزی‪ ،‬مسدود شدن دارایی‌های کشور و تبعیت افراطی از تحریم‌ها‬
‫توسط موسسات مالی و تجاری خارجی از تبعات مهم این اقدام بوده است‪ .‬شواهد متعددی به اطالع من‬
‫رسید که شامل عدم امکان واردات و صادرات کاالها و خدمات‪ ،‬حتی برای کمک‌های بشردوستانه‪ ،‬تعلیق‬
‫پروژه‌های زیربنایی و توسعه‌ای بزرگ‪ ،‬عدم امکان حفظ عضویت در سازمان‌ها و انجمن‌های بین‌المللی‪،‬‬
                                 ‫و همچنین ناتوانی در اجرای پروژه‌های مشترک دانشگاهی و علمی بود‪.‬‬
‫شواهدی مبنی بر ارتباط آشکار بین اعمال تحریم‌ها و سیاست‌های انزوای مالی و تجاری از یک سو و آثار‬
‫منفی آن بر توانمندی‌های نظام سالمت کشور موجود است‪ .‬این شرایط نه تنها تامین و دسترسی به دارو و‬
‫تجهیزات پزشکی بلکه تخصیص بودجه برای خدمات مراقبت‌های بهداشتی موجود و همچنین تحقیق و‬
‫توسعه در زمینه روش‌های جدید درمانی را با چالش‌های بزرگی روبرو کرده است‪ .‬با اعمال مجدد‬
‫تحریم‌ها که منجر به افزایش هزینه‌ها و کاهش عرضه از جمله مواد خام برای تولید داروی داخلی شده‬
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‫است‪ ،‬با وجود طرح‌های گزارش‌شده دولت برای تقویت ظرفیت عمومی مراقبت‌های بهداشتی از طریق‬
‫اجرای برنامه‌های توسعه خودکفایی پزشکی و دارویی با تقویت تولید داخلی و افزایش تعداد کلینیک‌های‬
‫عمومی و تخصصی‪ ،‬داروخانه‌ها و تخت‌های بیمارستانی در سال‌های ‪ ،۲۰۲۰-۲۰۱۸‬با این حال کاهش‬
                       ‫شدید استانداردهای ملی سالمت ایران با تأثیرات ویژه بر کودکان مشاهده می‌شود‪.‬‬
‫مشکالت و موانع عدیده ای در خرید و دریافت دارو و تجهیزات پزشکی نجات دهنده برای درمان‬
‫بیماری‌های نادر و حاد‪ ،‬از جمله سرطان‌های خاص‪ ،‬تاالسمی‪ ،‬هموفیلی‪ ،‬ام اس‪ ،‬اوتیسم‪ ،‬بیماری پروانه‬
‫ای و اچ آی وی‪/‬ایدز به دلیل تبعیت افراطی شرکت‌های خارجی از تحریم‌ها و محدودیت در انجام‬
‫پرداخت‌ها از طریق سیستم بانکی گزارش شده است‪ .‬همچنین از عدم تمایل شرکت‌های بیمه برای بیمه‬
‫کردن محموله‌های هوایی ایران و تاخیرهای قابل توجهی که باعث تحویل داروهایی با تاریخ انقضای‬
                                                             ‫بسیار محدود شده است‪ ،‬مطلع شدم‪.‬‬
‫من روایت‌های نگران کننده‌ای از کمبود و قیمت‌های گزاف داروها و فوت بیماران دریافت کردم که در آن‬
‫بیماران به دلیل شرایط وخیم اقتصادی ناچار به فروش مجدد بخشی از داروهای خود برای تامین نیازهای‬
‫اولیه از جمله غذا می‌کنند‪ .‬از سوی دیگر‪ ،‬ممنوعیت خرید لوازم و تجهیزات پزشکی مانند اسپری‌های‬
‫آسم‪ ،‬اسپری‌های استنشاقی‪ ،‬اسپکتروفتومتری‪ ،‬رادیوایزوتوپ‌ها و فناوری‌های رادیولوژی به این علت که‬
‫از نظر دفتر کنترل سرمایه‌های خارجی ایاالت متحده دارای کاربرد دوگانه (غیر نظامی و نظامی) است‪،‬‬
                                                                   ‫اوضاع را وخیم تر کرده است‪.‬‬
‫اگرچه دارو و تجهیزات پزشکی از نظر فنی مشمول تحریم نیستند‪ ،‬اما ابهام و پیچیدگی فرآیندهای صدور‬
‫مجوز‪ ،‬ترس مداوم تولیدکنندگان و تامین‌کنندگان‪ ،‬محدودیت‌ها در پردازش پرداخت‌ها و موانع ارسال این‬
‫کاالها‪ ،‬آنها را از دسترس مردم ایران‪ ،‬به ویژه برای اقشار نیازمند و به خصوص در مناطق دورافتاده و‬
‫روستایی خارج کرده است‪ .‬نهادهای دولتی و فعاالن غیردولتی بشردوستانه در تالش برای یافتن‬
‫راه‌حل‌هایی جایگزین برای خرید ملزومات هستند که این روش‌ها به دلیل دخیل شدن دالالن و واسطه‌ها‬
                                                                  ‫موجب افزایش هزینه‌ها می‌شود‪.‬‬
‫اثرات نامطلوب تحریم‌ها بر مراقبت‌های بهداشت و درمان همزمان با اثرات وخیم کووید‪ ۱۹-‬در ایران چند‬
 ‫برابر شده است‪ .‬نحوه مدیریت همه‌گیری کرونا توسط دولت به علت مشکالت در تهیه واکسن‌ از طریق‬
‫کشورهای ثالث و سازوکار بین‌المللی کوواکس به دلیل تأخیر موسسات مالی خارجی در تأیید انتقال وجوه‬
‫به سازمان جهانی بهداشت و مشکالت دیگر مربوط به تحریم‌های یکجانبه و متکی بودن به کمک‌ها و‬
‫اقدامات کارگزاری‌های تخصصی سازمان ملل متحد که استثنائا ً عهده دار تسهیل این نقل و انتقاالت شده‌‬
                                                                 ‫بودند‪ ،‬با موانع زیادی روبرو شده است‪.‬‬
‫من در این مدت با فعاالن حوزه حمایت‌های اجتماعی و امور بشردوستانه نیز دیدارهایی داشتم‪ .‬مشکالت‬
‫اقتصادی ناشی از تحریم‌های یکجانبه و اجرای شدید آن که با همه‌گیری کووید‪ ۱۹-‬همراه شده بود‪ ،‬منجر‬
‫به افزایش قابل توجه تعداد افراد نیازمند و حمایت‌جو شده است‪ ،‬به طوری که طی دو سال گذشته این رقم‬
‫پنج تا هشت برابر افزایش یافته است‪ .‬کاهش شدید درآمدهای دولت و کمک‌های مالی شرکت‌های‬
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‫خصوصی داخلی از یک سو‪ ،‬و عدم امکان دریافت حمایت‌های مالی بین‌المللی از سوی دیگر باعث کاهش‬
                                           ‫برنامه‌های حمایت اجتماعی دولتی و غیردولتی شده است‪.‬‬
‫تحریم‌ها و فشارهای اقتصادی ناشی از آن‪ ،‬تبعات جنسیتی آشکاری را نیز موجب شده است‪ .‬بخش‌های‬
‫اقتصادی که به‌طور سنتی زنان را به استخدام می‌گرفتند به طور خاص آسیب دیده‌اند و در نتیجه‪ ،‬تعداد‬
‫فزاینده‌ای از زنان برای رفع نیازهای مالی خانوار خود به ناچار به فعالیت‌های اقتصادی غیررسمی روی‬
‫آورده‌اند‪ .‬بر اساس اطالعات دریافتی‪ ،‬نرخ بیکاری زنان تقریبا ً دو برابر مردان است (به ترتیب ‪ ۴۸‬و ‪۲۵‬‬
‫درصد)‪ .‬به گفته چندین مصاحبه شونده‪ ،‬نگرانی‌های زیادی در مورد وضعیت درآمدی بی‌ثبات حدود ‪۳‬‬
‫میلیون زن سرپرست خانوار و آسیب‌پذیری ‪ ۹‬میلیون زن در دهک‌های کم درآمد جامعه و مشکالت عدیده‬
‫آنان در دسترسی به خدمات اولیه از جمله مراقبت‌های بهداشتی وجود دارد‪ .‬وخیم‌ شدن اوضاع اقتصادی و‬
‫ممنوعیت نقل و انتقاالت بانکی بر جمعیت سالمندان نیز تأثیر گذاشته است‪ .‬تورم باال قدرت خرید سالمندان‬
                         ‫را کاهش داده و هزینه‌های درمانی آنها را به میزان قابل توجهی افزایش داده است‪.‬‬
‫موضوع مهم دیگر وضعیت افراد دارای معلولیت‌های جسمی و ذهنی و مشکالت موجود در دسترسی آنها‬
‫به داروها و تجهیزات پزشکی‪ ،‬کمکی و توانبخشی مناسب به دلیل رعایت افراطی تحریم‌ها توسط‬
‫تامین‌کنندگان خارجی و موانع موجود در پرداخت‌های بین‌المللی است‪ .‬این موضوع در کنار رکود‬
‫اقتصادی ناشی از تحریم‌ها و کاهش ارزش کمک‌های مالی دریافتی از دولت در قالب حمایت‌های‬
‫اجتماعی‪ ،‬مشکالت این قشر را دو چندان کرده است‪ .‬بنا بر گزارش‌ها‪ ،‬هزینه‌های برخی داروها و‬
                        ‫تجهیزات توانبخشی از سال ‪ ۱۳۹۷‬تا سال جاری ده برابر افزایش یافته است‪.‬‬
‫از سوی دیگر‪ ،‬ایران میزبان بیش از ‪ ۵‬میلیون مهاجر و پناهنده است که اکثراً اتباع افغانستان و فاقد‬
‫مدارک اقامتی و نیازمند کمک‌های بشردوستانه هستند‪ .‬پس از به قدرت رسیدن طالبان در‪ ۱۴۰۰‬که منجر‬
‫به ورود اجباری بیش از ‪ ۸۵۰۰۰۰‬تبعه افغانستان به ایران شد‪ ،‬وضعیت این گروه وخیم تر شد‪ .‬دولت‬
‫ایران تعهد خود را برای ادامه اجرای سیاست‌های همه شمول از جمله دسترسی برابر به آموزش و‬
‫بهداشت همگانی ابراز کرده است‪ .‬اما به دلیل آثار اقتصادی تحریم‌ها‪ ،‬محدودیت‌ در تراکنش‌های مالی و‬
‫ارائه خدمات‪ ،‬و کاهش تمایل اهداکنندگان به فراهم کردن کمک‌ها که با شیوع همه‌گیری کرونا همراه شد‪،‬‬
‫هزینه‌های کمک‌های بشردوستانه تقریبا ً ‪ ۵۰‬درصد افزایش یافته است‪ .‬این وضعیت توانایی دولت و فعاالن‬
‫بشردوستانه را در اجرای پروژه‌ها از جمله تامین کاالهای اساسی و ساخت مدارس و مراکز بهداشتی‬
                                                 ‫برای این جمعیت آسیب پذیر به شدت کاهش داده است‪.‬‬
‫کاهش شدید درآمدها موجب تضعیف توانایی دولت در حفظ و بهبود زیرساخت‌های ضروری و مشارکت‬
‫در پروژه‌های توسعه اساسی شده است‪ .‬عدم دسترسی به نظام مالی بین‌المللی‪ ،‬اختالل در پردازش‬
‫پرداخت‌ها و امتناع شرکت‌های خارجی از پذیرش ضمانت‌نامه‌های ارزی صادر شده توسط بانک‌های‬
‫ایرانی‪ ،‬به حضور ایران در مشارکت‌های بین‌المللی برای چنین پروژه‌هایی و توسعه و نوسازی صنایع‬
‫ایران به شدت آسیب وارده کرده است‪ .‬من اطالعاتی دریافت کردم مبنی بر تعلیق پروژه‌های برق آبی‪،‬‬
‫آبیاری و آبرسانی به دلیل عدم پرداخت وجوه خارجی و عدم امکان جذب سرمایه‌گذاری و فناوری‌های‬
‫جدید الزم برای ارتقای بخش‌های مهم صنعتی مانند پاالیشگاه‌های نفت‪ ،‬میادین گازی‪ ،‬نیروگاه‌ها‪ ،‬خطوط‬
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‫لوله و شبکه‌های برق که آثار نامطلوب جدی بر زندگی روزمره مردم برجای گذاشته و همچنین افزایش‬
‫خطرات زیست محیطی را موجب شده است‪ .‬نگرانی‌های مشابهی در زمینه حفظ و توسعه زیرساخت‌های‬
‫کشور از جمله جاده‌ها‪ ،‬فرودگاه‌ها‪ ،‬حمل و نقل زمینی و هوایی مطرح شده است‪ .‬شرکت‌های هواپیمایی و‬
‫کشتیرانی ایران‪ ،‬در نتیجه تحریم‌های خزانه‌داری ایاالت متحده‪ ،‬قادر به تامین قطعات یدکی‪ ،‬تجهیزات و‬
‫خدمات مربوطه برای نگهداری و ارتقای ناوگان مربوطه خود نیستند که این امر خطرات زیادی را برای‬
‫مسافران خطوط هوایی ایجاد کرده و خطرات آلودگی آب ناشی از حوادث نشتی در کشتی‌ها را نیز افزایش‬
                                                                                       ‫داده است‪.‬‬
‫همچنین گزارش شده است که تحریم‌ها مانع از سرمایه‌گذاری ایران در زمینه مقابله با بالیا و بازسازی‬
‫شده است و این در حالی است که ایران همواره در معرض حوادث و بالیای طبیعی قرار داشته است و‬
‫مستعد ‪ ۴۵‬نوع از مجموع ‪ ۴۷‬نوع باليـای طبيعـی شـناخته شـده در جهان بوده است‪ .‬گزارش شده است که‬
‫به دلیل محدودیت تراکنش‌های بانکی‪ ،‬دریافت اعتبارات تخصیصی برای مداخالت اضطراری و تحویل‬
‫دارو و تجهیزات نجات با تاخیر از یک هفته تا حتی یک سال انجام می‌شود‪ .‬این محدودیت‌ها سازمان‌های‬
‫امدادی را از دریافت کمک‌های مالی خارجی نیز باز می‌دارد‪ ،‬چرا که خرید بالگردهای جستجو و نجات و‬
‫آمبوالنس‌های هوایی به دلیل عدم تأمین مالی و این که ممکن است «کارکردی دو منظوره» برای آنها تلقی‬
                                                                         ‫شود‪ ،‬تقریبا ً غیرممکن است‪.‬‬
‫موانع مشابهی از سوی فعاالن هنری و در موضوعات مربوط به میراث فرهنگی گزارش شده است‪ .‬من‬
‫اطالعاتی راجع به متوقف شدن کمک‌های بین‌المللی‪ ،‬عدم امکان شرکت در رویدادهای بین‌المللی به دلیل‬
‫محدودیت‌های سفر یا میزبانی رویدادهای بین‌المللی به دلیل عدم تمایل همتایان خارجی به همکاری به دلیل‬
‫ترس از عواقب‪ ،‬و عدم امکان پرداخت حق عضویت و مشارکت‌های بین‌المللی از جمله برای ارزیابی‬
                                         ‫علمی و حفاظت از سایت‌های میراث فرهنگی دریافت کردم‪.‬‬
‫ممنوعیت صادرات‪ ،‬نقل و انتقاالت بانکی‪ ،‬تحریم‌های ثانویه و واهمه از مجازات‌های ناشی از عدم رعایت‬
‫تحریم‌ها به فضای فراگیر تبعیت افراطی از تحریم‌ها تبدیل شده است که انتقال فناوری‪ ،‬دانش‪ ،‬بارورسازی‬
‫فکری و فرهنگی را تضعیف می‌کند‪ .‬تحریم‌ها دسترسی به تبادل تجربه‪ ،‬دانش و تخصص بین محققان‬
‫ایرانی و خارجی را ناممکن ساخته و در نتیجه‪ ،‬مانع از غنی سازی متقابل علمی شده است‪ .‬دانشمندان‬
‫ایرانی از دسترسی محدود یا عدم دسترسی به مجامع بین‌المللی پزشکی و سایر مجامع علمی گزارش‬
‫می‌دهند‪ .‬دانشمندان‪ ،‬محققان و پژوهشگران خارجی به دلیل ترس از لطمه به اعتبار یا خطر عدم پذیرش‬
‫اجازه ورود آنها به ایاالت متحده‪ ،‬از حضور در رویدادهای علمی در ایران امتناع یا ابراز تردید کرده اند‪.‬‬
‫اشتراک مجالت پزشکی و سایر مجالت علمی به عنوان منابع پژوهشی و دانشی به دلیل عدم پرداخت‬
                          ‫هزینه اشتراک توسط مشترکین ایرانی به حالت تعلیق در آمده یا متوقف شده است‪.‬‬
‫مقاالت علمی و پژوهشی ارسال شده به مجالت بین‌المللی صرفا ً به دلیل ایرانی بودن پدیدآورندگان آنها رد‬
‫شده است‪ .‬دسترسی به دانشگاه‌ها‪ ،‬موسسات یا مراکز تحقیقاتی خارجی محدود یا ممنوع شده است‪ .‬مبادالت‬
‫دانشجویی و بورسیه‌های تحصیل در خارج از کشور لغو شده است‪ .‬دانشمندان هیأت تحریریه مجالت‬
‫علمی تمایلی به همکاری با همتایان ایرانی خود ندارند و به دلیل ترس از مشکالت ناشی از تحریم‌های‬
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‫آمریکا‪ ،‬در بررسی یا انتشار مقاالت تحقیقاتی ارائه شده از ایران تردید داشته و یا از آن خودداری‬
‫کرده‌اند‪ .‬والدین در ایران نتوانسته‌اند پول کافی را به حساب‌های بانکی فرزندان خود که در خارج از‬
‫کشور تحصیل می‌کنند واریز کنند‪ ،‬زیرا به گفته بانک‌ها‪ ،‬منشا این پول از ایران بوده است‪ .‬حساب بانکی‬
‫دانشجویان ایرانی خارج از کشور به دلیل ملیت آنها بسته شده است‪ .‬ایرانیانی که به دالیل (مختلف از‬
‫جمله) کاری و شغلی به خارج از کشور سفر می‌کنند به دلیل نداشتن کارت اعتباری یا پرداخت بین‌المللی‬
       ‫نمی‌توانند در هتل‌ها اتاق رزرو کنند و باید به صورت نقدی یا از طریق اشخاص ثالث پرداخت کنند‪.‬‬
‫اعمال مجدد تحریم‌ها همچنین منجر به کاهش شدید گردشگری و از دست رفتن هزاران شغل‪ ،‬هم در بخش‬
‫گردشگری و هم در تولید صنایع دستی شده است در حالی که اغلب فعاالن حوزه صنایع دستی‪ ،‬زنان در‬
‫مناطق روستایی هستند‪ .‬تحریم‌ها همچنین به دلیل ناممکن ساختن پرداخت با روش‌های غیرنقدی‪،‬‬
‫گردشگران خارجی را از بهره‌مند شدن از میراث غنی فرهنگی ایران به عنوان یکی از کهن ترین تمدن‌ها‬
                               ‫محروم کرده است‪ .‬عرصه هنری ایران نیز از تحریم‌ها آسیب دیده است‪.‬‬
‫بر خالف منشور المپیک که دخیل کردن مسائل سیاسی را در ورزش منع کرده است‪ ،‬ورزشکاران ایرانی‬
‫نتوانسته‌اند تجهیزات ورزشی مورد تایید بین‌المللی را تهیه کنند و از فرصت‌های آموزشی در خارج از‬
                      ‫کشور و ویزای ورود برای شرکت در برخی مسابقات بین‌المللی محروم شده‌اند‪.‬‬
‫یک سمن محلی که در حال تحقیق در مورد بهترین شیوه‌های بین‌المللی برای درمان کودکان معتاد به مواد‬
‫مخدر است‪ ،‬از دسترسی به مدل‌های توسعه یافته توسط یک موسسه آمریکایی منع شده است‪ .‬هشت ماه‬
‫طول کشیده است تا همین سازمان که به پناهندگان افغانستانی در ایران نیز خدمات ارائه می‌دهد‪ ،‬بانکی را‬
‫در اروپا شناسایی کند که پذیرفته است برای حمایت از یکی از پروژه‌هایش در ایران‪ ،‬مبلغ اهدایی اتحادیه‬
‫اروپا را انتقال دهد‪ .‬انجمن اوتیسم ایران که به ‪ ۶۰۰۰‬خانواده کمک می‌کند‪ ،‬به دلیل خودداری نهادهای‬
‫مربوطه خارجی از همکاری با آن‪ ،‬نتوانسته است به درمان‌های جدیدی که در خارج از کشور در حال‬
                                                                        ‫توسعه است دسترسی پیدا کند‪.‬‬
‫وضعیت مشابهی مربوط به مشارکت ایران در همکاری‌های بین‌المللی به وجود آمده است‪ .‬به ویژه‬
‫عضویت ایران در سازمان‌های بین‌المللی از جمله نهادهای سازمان ملل متحد‪ ،‬به دلیل عدم امکان انتقال‬
‫حق عضویت از طریق سیستم بانکی به حالت تعلیق درآمده است‪ .‬به عنوان نمونه‪ ،‬ایران قادر به پرداخت‬
‫حق عضویت خود به یونسکو نبوده و حق رای این کشور در سازمان جهانی بهداشت نیز به همین دلیل به‬
‫حالت تعلیق درآمده است‪ .‬اتاق بازرگانی ایران نتوانسته حق عضویت خود را به اتاق بازرگانی بین‌المللی‬
‫بپردازد و با خطر از دست دادن عضویت و مزایای ناشی از آن و همچنین ناتوانی در انتقال وجه به‬
‫دیوان‌های داوری بین‌المللی مواجه شده است‪ .‬دیپلمات‌های ایرانی در اروپا از حق باز کردن حساب‌های‬
‫بانکی در کشورهای محل ماموریت‌شان محروم هستند و این امر دریافت حقوق و پرداخت هزینه‌های‬
‫زندگی‌شان را پیچیده کرده است‪ .‬دیپلمات‌های خارجی مستقر در ایران قادر به انتقال پول از بانک‌های‬
                                                                       ‫کشور خود به ایران نبوده اند‪.‬‬
                ‫کمک‌های سازمان ملل متحد‪ ،‬تبعیت افراطی از تحریم‌ها و معافیت‌های بشردوستانه‬
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‫فعالیت‌های کارگزاری‌های سازمان ملل متحد در ایران‪ ،‬شامل کمک‌های توسعه‌ای و ارائه کمک‌های فنی یا‬
‫بشردوستانه‪ ،‬اغلب به دلیل تحریم‌ها با مشکل مواجه شده است‪ .‬در بیشتر مواقع‪ ،‬ترس و واهمه از‬
‫تحریم‌ها‪ ،‬بیش از خود تحریم‌ها‪ ،‬فضایی را ایجاد می‌کند که بانک‌ها و شرکت‌های تامین‌کننده دولتی و‬
‫خصوصی خارجی را به رعایت افراطی و بیش از حد تحریم‌ها وادار می‌کند‪ ،‬که این امر تالش‌های‬
                                        ‫سازمان ملل متحد را بیش از خود تحریم‌ها تضعیف کرده است‪.‬‬
‫طبق گفته اداره کنترل دارایی‌های خارجی وزارت خزانه‌داری ایاالت متحده‪ ،‬غذا و دارو قرار است به‬
‫دالیل بشردوستانه از تحریم‌ها مستثنی شوند‪ .‬ممکن است این ادعا در ظاهر درست باشد‪ ،‬اما خرید این‬
‫کاالها مستلزم همکاری تولیدکنندگان‪ ،‬تامین‌کنندگان‪ ،‬حمل‌ونقل‌کنندگان و بانک‌ها است‪ ،‬اما این همکاری‌ها‬
‫در عمل به علت ترس از تحریم‌ها انجام نمی‌شود‪ .‬معافیت‌های بشردوستانه به صورت موردی اعطا شده‬
‫است و اجرای موثر آنها مستلزم برنامه ریزی دقیق‪ ،‬مذاکرات شفاف‪ ،‬ارتباطات و تدارکات موثر است‪.‬‬
‫حتی در چنین مواردی‪ ،‬رعایت بیش از حد تحریم‌ها توسط بانک‌های واسطه می‌تواند این روند را مختل‬
‫کند‪ .‬بانک‌ها تقریبا ً همیشه با تکیه بر مشاوران حقوقی و ریسک خود از انجام این معامالت امتناع‬
                        ‫می‌ورزند و جریان کمک‌های بشردوستانه را به تاخیر می‌اندازند یا مانع می‌شوند‪.‬‬
‫ترس از تحریم‌ها گاهی به درک فردی از خطرات‪ ،‬غیرقابل پیش بینی بودن زیاد و تمایل طرف‌های‬
‫مربوطه (بانک‌ها‪ ،‬تامین کنندگان‪ ،‬اهداکنندگان) به اجتناب مطلق از ریسک کردن و حفاظت از منافع خود‬
‫مربوط می‌شود‪ .‬از آنجایی که فرآیندهای تدارکاتی برای اجرای پروژه‌ها معموالً مستلزم صرف زمان‬
‫زیادی است و به دلیل تحریم‌ها شامل بحث‌ها‪ ،‬رویه‌ها و مذاکرات طوالنی می‌شود‪ ،‬اغلب سفارش‌ها در‬
‫آخرین لحظه لغو می‌شوند و باید مجدداً آگهی شوند‪ .‬این امر تاخیرها را طوالنی‌تر می‌کند‪ ،‬هزینه‌ها را‬
                                               ‫افزایش می‌دهد و تحویل کمک‌ها را به تعویق می‌اندازد‪.‬‬
‫در مورد لوازم بهداشتی حیاتی‪ ،‬این وضعیت آثار مضر‪ ،‬جبران ناپذیر و گاه کشنده‌ای بر بیماران داشته‬
‫است‪ .‬یک مقام باتجربه سازمان ملل متحد خاطرنشان کرد که هرگز برای وارد کردن تجهیزات نجات‌بخش‬
‫به کشوری با این همه مشکل مواجه نشده بود‪ .‬در نتیجه‪ ،‬به عنوان مثال‪ ،‬تالش‌های کمک‌رسانی سازمان‬
‫ملل متحد در سال‌های ‪ ۲۰۲۰-۲۰۱۹‬زمانی که جمعیتی حدود ‪ ۲‬میلیون نفر در ‪ ۲۵‬استان تحت تأثیر‬
‫سیل‌های شدید آسیب دیده بودند‪ ،‬به طور جدی با مشکل مواجه شد‪ .‬چندین کشور که آماده کمک بودند به‬
‫دلیل تحریم‌ها نتوانستند کمک‌های خود را ارسال کنند‪ .‬دسترسی به تصاویر ماهواره‌ای خارجی ممنوع شد‪.‬‬
‫ایران که کشوری زلزله خیز است قادر به خرید تجهیزات تخصصی‪ ،‬از جمله میز لرزه برای ساختمان‌ها‬
                                           ‫که ساخت ژاپن است‪ ،‬برای کاهش خطرات زلزله نبوده است‪.‬‬
‫بالگردها‪ ،‬که گاهی تنها وسیله رسیدن به مناطق آسیب دیده و قربانیان هستند‪ ،‬اغلب با توجه به امکان‬
‫کاربرد دوگانه احتمالی آنها قابل خریداری نیستند و به دلیل دشواری یا عدم امکان تهیه قطعات یدکی‪،‬‬
‫نگهداری مناسب و مستمر این بالگردها امکانپذیر نیست‪ .‬همین امر در مورد تعمیر و نگهداری‪ ،‬نوسازی‬
                                  ‫یا تعویض آمبوالنس‌ها و سایر وسایل نقلیه پزشکی نیز صدق می‌کند‪.‬‬
‫به دلیل رعایت افراطی تحریم‌ها‪ ،‬شرکت‌های خصوصی نیز مشکالت و نگرانی‌های مشابه فعاالن امور‬
‫بشردوستانه در تهیه کاالهای ضروری را گزارش کرده اند‪ ،‬که اغلب شامل کاالهای نجات‌بخش می‌شود‪.‬‬
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‫این شرکت‌ها تأکید کردند که محدودیت‌های مزبور آنقدر سخت‌گیرانه بوده است که ادامه فعالیت را عمالً‬
‫بسیار مشکل کرده است و به دلیل دشواری یا عدم امکان انجام معامالت مالی آنها را از سرمایه گذاری‬
‫منصرف کرده است‪ .‬یک فعال مهم تجاری تأکید کرد که سنگینی تحریم‌های ثانویه آثار منفی تحریم‌ها را‬
‫عمیق‌تر کرده‪ ،‬اقتصاد را تضعیف کرده‪ ،‬فقر را افزایش داده و سالمت و تغذیه آسیب‌پذیرترین اقشار را‬
‫تهدید می‌کند و این که «تحریم‌های ثانویه بدتر از خود تحریم‌ها بوده است»‪ .‬به همین دالیل‪ ،‬شرکت‌های‬
              ‫خصوصی اعالم کرده اند که تجارت با ایران به یک سرمایه گذاری پرخطر تبدیل شده است‪.‬‬
                                                                                 ‫بررسی قانونی بودن‬
‫با توجه به پیچیدگی تحریم‌های یکجانبه اعمال شده علیه اقتصاد کشور و علیه شهروندان و شرکت‌های‬
                                 ‫ایرانی‪ ،‬ارزیابی فعلی تنها به بررسی چند جنبه مرتبط می‌پردازد‪.‬‬
‫به طور خاص‪ ،‬وضعیت اضطراری ملی اعالم شده توسط دولت آمریکا در ‪ ۱۹۹۵‬به عنوان زمینه اعمال‬
‫تحریم‌ها علیه ایران که آخرین بار در مارس ‪ ۲۰۲۲‬برای یک سال دیگر تمدید شد‪ ،‬با الزامات ماده ‪۴‬‬
‫میثاق بین‌المللی حقوق مدنی و سیاسی مطابقت ندارد که عبارتند از‪ :‬وجود تهدید جانی علیه شهروندان‪،‬‬
‫محدود کردن اقدامات به مقتضیات موقعیت‪ ،‬مدت زمان محدود‪ ،‬تبعیض قائل نشدن و ممنوعیت تخطی از‬
                                      ‫حق حیات یا مجازات فعالیتی که جرم کیفری محسوب نمی‌شود‪.‬‬
‫تاکید می‌شود که طبق قوانین بین‌الملل‪ ،‬اتخاذ اقدامات یکجانبه بدون مجوز شورای امنیت سازمان ملل متحد‬
‫یا فراتر از آن‪ ،‬تنها در صورتی ممکن است که تعهدات بین‌المللی دولت‌ها را نقض نکند (اقدامات‬
‫تالفی‌جویانه یا مقابله به مثل) یا اگر نادرستی آن‌ها را بتوان به عنوان اقدامات متقابل اتخاذ شده مطابق با‬
‫استانداردهای حقوقی مسئولیت بین‌المللی مستثنی نمود‪ :‬در این صورت اعمال این اقدامات بر علیه دولت‌ها‬
‫باید به دلیل نقض هنجارهای حقوقی بین‌المللی (توسط آن دولت) باشد‪ ،‬با هدف برقراری اجرای تعهدات‬
‫بین‌المللی انجام پذیرد‪ ،‬با نقض صورت گرفته متناسب باشد‪ ،‬ضروری باشد‪ ،‬و در تعارض با هنجارهای‬
                                         ‫قطعی و تعلل‌ناپذیر حقوق بین الملل و حقوق اساسی بشر نباشد‪.‬‬
‫همچنین یادآوری می‌کنم که دارایی‌های بانک مرکزی و دارایی‌های مورد استفاده برای مصارف و مقاصد‬
‫عمومی از مصونیت کامل در برابر احکام قضایی خارجی و توقیف خارجی برخوردار است‪ ،‬بنابراین‬
            ‫دولت‌ها باید تعهد خود را برای تضمین برخورداری از حقوق بشر در قلمرو خود اعمال کنند‪.‬‬
‫به عالوه‪ ،‬سیاست‌ها و کارزارهای فشار حداکثری و همچنین تهدیدهای خطاب به کشورها‪ ،‬شرکت‌ها و‬
‫افراد ثالث‪ ،‬در تناقض با اصل همکاری بین دولت‌ها‪ ،‬اصل حل و فصل مسالمت‌آمیز اختالفات بین‌المللی‪،‬‬
                                   ‫اصول برابری حاکمیتی و عدم مداخله در امور داخلی کشورها است‪.‬‬
‫همچنین نگران این هستم که کمترین اثر تحریم‌های یکجانبه هدفمند به عنوان اقدامی تنبیهی‪ ،‬نقض تعهدات‬
‫ناشی از اسناد بین‌المللی و منطقه‌ای حقوق بشر بوده است که بسیاری از آنها از جمله تضمین‌های رویه‌ای‬
                                                  ‫و فرض برائت‪ ،‬ماهیتی قطعی و الزم االجرا دارند‪.‬‬
‫به عالوه‪ ،‬صدور احکام قضایی فراسرزمینی علیه اتباع و شرکت‌های کشورهای ثالث برای همکاری با‬
‫مقامات دولتی‪ ،‬شهروندان و شرکت‌های ایرانی‪ ،‬از جمله مبادالت شرکت‌های کشورهای ثالث با ایران یا‬
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‫خرید محصوالت ایرانی و یا استفاده از دالر آمریکا برای پرداخت یا به عنوان ابزاری در فرآیند تبدیل‬
‫پول‪ ،‬با اعمال تحریم‌های ثانویه و تهدیدات ادعا شده علیه این گونه اشخاص ثالث‪ ،‬بر اساس قوانین‬
                ‫بین‌المللی غیرقانونی است و خطرات ناشی از رعایت افراطی تحریم‌ها را افزایش می‌دهد‪.‬‬
‫ممانعت از افتتاح و حفظ حساب‌های بانکی توسط نمایندگی‌های دیپلماتیک‪ ،‬کنسولی و ویژه ایران با مفاد‬
‫کنوانسیون‌های وین در مورد روابط دیپلماتیک و کنسولی مطابقت ندارد و مأمورین دیپلماتیک و کارکنان‬
‫باید بتوانند به انجام فعالیت‌های دیپلماتیک و کنسولی خود بدون هیچ‌گونه خطر مسدود شدن حساب‌های‬
‫بانکی بپردازند‪ .‬ممانعت از پرداخت حق عضویت مقرر و کمک‌های داوطلبانه ایران به سازمان‌های‬
‫بین‌المللی‪ ،‬مانع تعامل این کشور با این نهادها و موجب خطر تعلیق حق رای این کشور و نقض اصول‬
                                            ‫برابری حاکمیتی دولت‌ها و همکاری با حسن نیت می‌شود‪.‬‬
‫بدین ترتیب تحریم‌های یکجانبه علیه ایران ناقض چندین هنجار حقوقی بین‌المللی است‪ ،‬برای اعمال فشار‬
‫بر یک دولت وضع شده است‪ ،‬به‌عنوان اقدام متقابل بر اساس قانون مسئولیت بین‌المللی قابل توجیه نیست و‬
‫بنابراین می‌تواند به‌عنوان اقدامات قهری یک‌جانبه تلقی شود که در قطعنامه‌های شورای حقوق بشر‬
                   ‫سازمان ملل متحد و مجمع عمومی سازمان ملل متحد به‌طور مکرر محکوم شده است‪.‬‬
                                                                                       ‫نتیجه گیری‬
‫تحریم‌های یکجانبه اولیه‪ ،‬تحریم‌های ثانویه‪ ،‬تهدید به اعمال تحریم‌‪ ،‬سیاست‌های کاهش خطر و رعایت‬
‫افراطی تحریم‌ها همگی به میزان چشم‌گیری منجر به تشدید و وخامت اوضاع بشردوستانه در ایران شده‬
                                                                                       ‫است‪.‬‬
‫تحریم‌های اعمال شده بر کاالهای اصلی صادراتی‪ ،‬تحریم تمامی بانک‌های ایرانی به همراه فهرست‬
‫بلندباالیی از شرکت‌ها و شهروندان ایرانی‪ ،‬از جمله برخی که در زمینه تولید دارو و مواد غذایی فعالیت‬
‫می‌کنند‪ ،‬منجر به کاهش درآمد دولت‪ ،‬تورم ‪ ،‬فقر روزافزون‪ ،‬و منابع ناکافی برای تضمین نیازهای اساسی‬
‫اقشار کم درآمد و سایر گروه‌های آسیب پذیر‪ ،‬از جمله افرادی که از بیماری‌های نادر یا شدید رنج می‌برند‪،‬‬
         ‫افراد با معلولیت‪ ،‬پناهندگان افغانستانی‪ ،‬خانواده‌های زن سرپرست و کودکان در کشور شده است‪.‬‬
‫این تحریم‌ها همچنین دولت را از دسترسی به منابع الزم برای توسعه و حفظ زیرساخت‌های ضروری‬
‫کشور از جمله بیمارستان‌ها‪ ،‬مدارس‪ ،‬مسکن‪ ،‬پاالیشگاه‌ها‪ ،‬جاده‌ها‪ ،‬هوانوردی غیرنظامی‪ ،‬مخازن و‬
‫بسیاری دیگر‪ ،‬و حفظ سطح آمادگی الزم برای پاسخ به حوادث و بالیای طبیعی محروم کرده‌است‪ ،‬منجر‬
‫به کاهش برنامه‌های حمایت اجتماعی و جلوگیری از اجرای طرح‌های دانشگاهی‪ ،‬فرهنگی‪ ،‬زیست‌محیطی‬
                                     ‫و عمرانی شده و آثار مخربی بر کل جمعیت ایران داشته است‪.‬‬
‫اعالم آمادگی و تهدید برای اعمال تحریم‌های ثانویه‪ ،‬مجازات‌های کیفری و مدنی علیه افراد و شرکت‌هایی‬
‫که رژیم‌های تحریمی یک‌جانبه را دور می‌زنند‪ ،‬همچنین سیاست‌های ریسک‌زدایی و رعایت افراطی‬
‫تحریم‌ها توسط بانک‌ها و شرکت‌های خصوصی کشورهای ثالث‪ ،‬منجر به مشکالت زیر شده است‪:‬‬
‫مشکالت فزاینده انتقال یا دریافت پول از جمله بسته شدن حساب‌های بانکی با سابقه افراد حقیقی یا حقوقی‬
‫ایرانی در صورت مشارکت آنان در معامالت‪ ،‬افزایش مدت و هزینه‌های حواله‌های بانکی و نیاز ایجاد‬
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‫شده برای انجام تراکنش‌ها از طریق شهروندان کشورهای ثالث یا جستجوی راه‌های جایگزین برای‬
‫پرداخت و خرید که اغلب غیرممکن یا مستلزم تاخیرهای طوالنی است‪ ،‬سوء استفاده از این وضعیت‬
‫توسط اشخاص ثالث‪ ،‬تحویل دادن مواد‪ ،‬واکنش‌گرها‪ ،‬داروها و مواد بی‌کیفیت یا تقلبی‪ ،‬که این وضعیت‬
 ‫می‌تواند چالش‌های مختلفی را در زمینه‌های اقتصادی‪ ،‬اجتماعی‪ ،‬پیشگیری از جرم و فرهنگی ایجاد کند‪.‬‬
‫ممانعت از مشارکت ایران در همکاری‌های بین‌المللی از طریق ایجاد مانع در پرداخت حق عضویت‬
‫سازمان‌های بین‌المللی یا همکاری‌های بین‌المجالس‪ ،‬از ادامه همکاری‌های بین‌المللی ایران جلوگیری می‌کند‬
                                                                     ‫و مانع احقاق حق توسعه می‌شود‪.‬‬
‫با نگرانی متذکر می‌شوم که به دلیل در دسترس نبودن ماشین آالت‪ ،‬قطعات یدکی‪ ،‬نرم افزارها و‬
‫فناوری‌های جدید‪ ،‬همچنین مسدود شدن دارایی‌های ایران در تعدادی از کشورها و عدم دسترسی به‬
‫وام‌های اضطراری‪ ،‬مردم ایران با مشکالت عدیده‌ای مواجه هستند‪ ،‬از جمله در زمینه عرضه بنزین‪،‬‬
‫مراقبت‌های بهداشتی‪ ،‬نبود سازوکارهای کافی برای پایش و پاسخ به بالیای طبیعی و مواجهه با شرایط رو‬
‫به وخامت حمل‌ونقل و امنیت زیست‌محیطی‪ ،‬نگهداری زیرساخت‌های اساسی کشور‪ ،‬استفاده از‬
‫فناوری‌های نوآورانه‪ ،‬خطرات فزاینده آلودگی‌ هوا و خاک و آلودگی‌‌های نفتی‪ ،‬و وخامت شرایط کاری که‬
                               ‫بر حقوق اقتصادی و اجتماعی و حقوق سالمت و حیات تأثیر می‌گذارد‪.‬‬
‫تاکید می‌کنم که کاهش درآمدهای حاصل از صادرات کاال‪ ،‬کاهش دستمزدها و وخامت اوضاع اقتصادی و‬
‫تورم‪ ،‬توان دولت را برای حفظ میزان حمایت‌های اجتماعی در حوزه غذا‪ ،‬بهداشت و مسکن تقلیل داده‬
‫است‪ ،‬و این شرایط موجب تضییع حق غذا‪ ،‬حق رهایی از فقر‪ ،‬حق زندگی آبرومندانه‪ ،‬حق سالمت و‬
                                                      ‫حقوق اقتصادی و اجتماعی مردم شده است‪.‬‬
‫با اذعان به وجود مجوزهای عمومی اداره کنترل دارایی‌های خارجی وزارت خزانه داری ایاالت متحده‬
‫برای فروش و تحویل کاالهای پزشکی و کشاورزی با معافیت به ایران‪ ،‬در عمل معافیت‌های بشردوستانه‬
‫برای غذا و دارو بی اثر بوده و تقریبا ً وجود ندارد‪ .‬این به دلیل ترس واقعی یا ادعایی شرکت‌ها از‬
‫تحریم‌های ثانویه‪ ،‬ترس از اتهامات مدنی و کیفری علیه آنها‪« ،‬توصیه» های گزارش شده به آنان مبنی بر‬
‫عدم انجام هیچ گونه فعالیت تجاری با ایران‪ ،‬و باالخره عدم امکان‪ ،‬پیچیدگی‪ ،‬عدم قطعیت و طوالنی بودن‬
‫پرداخت‌های بانکی و تحویل کاال است‪ .‬تحریم‌ها بر طیف گستره حقوق انسانی مردم ایران آثار منفی‬
                                                                             ‫برجای گذاشته است‪.‬‬
‫خودداری تولیدکنندگان دارو و تجهیزات پزشکی‪ ،‬مواد اولیه‪ ،‬مواد غذایی و محصوالت کشاورزی‪،‬‬
‫قطعات یدکی‪ ،‬نرم‌افزار‪ ،‬واکسن‌های انسان و دام‪ ،‬بذر‪ ،‬کود و سایر کاالهای ضروری از انعقاد قرارداد با‬
‫ایرانیان‪ ،‬خودداری بانک‌ها از انجام هرگونه معامله و امتناع شرکت‌های حمل‌ونقل از ارائه تضمین تحویل‬
‫کاال‪ ،‬در مجموع منجر به افزایش مستند نرخ مرگ و میر و ناتوانی افراد مبتال به بیماری‌های نادر و حاد‪،‬‬
‫تحویل اضافی و ارسال داروها و تجهیزات پزشکی بی کیفیت‪ ،‬تاریخ مصرف گذشته و تقلبی‪ ،‬بدتر شدن‬
‫وضعیت سالمت‪ ،‬کاهش تولید مواد غذایی‪ ،‬کاهش امید به زندگی افراد دارای معلولیت و ناگزیر نقض‬
‫حقوق غذا و سالمت و کاهش کیفیت زندگی آنها‪ ،‬و نقض حق زندگی با کرامت بدون درد و حق حیات شده‬
                                                                                            ‫است‪.‬‬
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‫اعمال طیف گسترده تحریم‌های یکجانبه همراه با تحریم‌های ثانویه و رعایت افراطی آنها‪ ،‬و امتناع‬
‫تولیدکنندگان‪ ،‬بانک‌ها و شرکت‌ها از تحویل کاالهای اساسی به ایران موجب شده است که نهادهای دولتی‪،‬‬
‫شرکت‌های خصوصی و شهروندان ایرانی بناچار به استفاده از راه‌های جایگزین برای حضور در تجارت‬
‫بین‌الملل روی بیاورند‪ .‬در نتیجه‪ ،‬دخالت شرکت‌های ثالث و واسطه و استفاده از سازوکارهای غیررسمی‬
‫و غیرشفاف تجارت‪ ،‬پرداخت و تحویل کاال نتیجه ای جز گسترش فقر و کاهش سطح زندگی مردم و‬
                                                     ‫تضییع حقوق اقتصادی و اجتماعی آنان ندارد‪.‬‬
‫عدم تمایل شرکای خارجی به همکاری با مؤسسات آموزشی‪ ،‬انجمن‌های ورزشی حرفه‌ای و آماتور‪،‬‬
‫مؤسسات فرهنگی‪ ،‬هنرمندان‪ ،‬شرکت‌های فناوری و سایر نهادهای ایرانی و همچنین قطع شدن امکان‬
‫انتقال پول‪ ،‬مشکالت در اخذ ویزا‪ ،‬حذف شدن دانش‌پژوهان ایرانی از عضویت در هیئت‌های تحریریه‬
‫خارجی و رد شدن فزاینده مقاالت ارائه شده توسط محققان ایرانی برای ارزیابی و ویرایش از سوی‬
‫نشریات علمی‪ ،‬کاهش امکان دریافت کمک هزینه‌های تحقیقاتی و بورسیه‌های تحصیلی برای دانشجویان و‬
‫دانش پژوهان ایرانی‪ ،‬محرومیت از دسترسی به پایگاه‌ها و کتابخانه‌های دانشگاهی‪ ،‬فناوری و پزشکی‬
‫خارجی به دلیل ملیت ایرانی‪ ،‬و تبعیض بر اساس آدرس ‪( IP‬سایت‌های ایرانی) همگی تبعیض بر اساس‬
‫ملیت است که حق آموزش و همچنین همکاری‌های بین‌المللی دانشگاهی‪ ،‬ورزشی و فرهنگی‪ ،‬نوآوری‪،‬‬
‫آزادی‌های دانشگاهی و حقوق فرهنگی را تضییع می‌کند و مانع همکاری و گفتگو در همه حوزه‌های‬
                                                                              ‫مذکور می‌شود‪.‬‬
‫چالش‌های اقتصادی ناشی از اقدامات یک‌جانبه قهرآمیز و عدم همکاری بین‌المللی مبتنی بر مسئولیت‬
‫مشترک‪ ،‬دولت ایران را از ارائه کمک‌های پایدار به آسیب‌پذیرترین اقشار جمعیت‪ ،‬از جمله پناهندگان‬
‫افغانستانی باز می‌دارد‪ .‬ضمن تقدیر از تالش‌های ایران برای فراهم کردن دسترسی برابر برای پناهندگان‬
‫افغانستانی‪ ،‬اعم از دارندگان مدرک اقامتی قانونی و پناهندگان ثبت نشده‪ ،‬خاطرنشان می‌کنم که درآمد‬
‫ناکافی دولت مانع از توسعه مدارس‪ ،‬بیمارستان‌ها و زیرساخت‌های شهری الزم برای ارائه این خدمات‬
                                                                                     ‫شده است‪.‬‬
‫تحریم‌های یکجانبه و رعایت افراطی آنها‪ ،‬در کنار کاهش همکاری‌های دوجانبه و بین‌المللی‪ ،‬اقتصاد‬
‫کشور را وخیم کرده و بر حق اشتغال‪ ،‬حق کار شایسته به ویژه برای فقیرترین گروه‌های جمعیتی تأثیر‬
‫نامطلوب می‌گذارد و مانع تالش‌ها برای پیشگیری مؤثر از جرم و مقابله با افزایش مصرف مواد مخدر و‬
                                                  ‫نیز مختل شدن امنیت اقتصادی و اجتماعی می‌شود‪.‬‬
‫از تالش‌ها و اقدامات دولت جمهوری اسالمی ایران برای کاهش آثار منفی تحریم‌های یکجانبه بر‬
‫بخش‌های مختلف به‌ویژه برای اقشار آسیب‌پذیر جامعه شامل پناهندگان افغانستانی استقبال می‌کنم‪ .‬با این‬
‫حال‪ ،‬در حالی که این اقدامات آثار منفی مستقیم تحریم‌ها را بر برخورداری از حقوق انسانی کاهش‬
‫می‌دهد‪ ،‬اما نباید از آن به عنوان زمینه‌ای برای مشروعیت بخشیدن اعمال تحریم‌های یکجانبه استفاده شود‪.‬‬
‫تحریم‌های یکجانبه در مورد تحویل کاال و خدمات به ایران‪ ،‬بیمه‌های حمل و نقل و سیستم بانکی ایران و‬
‫رعایت بیش از حد تحریم‌ها توسط شرکت‌ها و بانک‌ها‪ ،‬تالش‌های سازمان‌ها و انجمن‌های بشردوستانه را‬
‫در ارائه کمک‌ها و تحویل اقالم انسان دوستانه به ایران با مشکالت جدی روبرو کرده است و تنها دریافت‬
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‫کمک‌های مالی از کشورهای اتحادیه اروپا تا حدی برای سازمان‌های غیر دولتی بین‌المللی بشردوستانه‬
‫آسان تر بوده است‪ .‬موانع فوق منجر به افزایش هزینه‌های قانونی و بانکی‪ ،‬تأخیر در تحویل کاالها حتی‬
‫دارو و تجهیزات نجات بخش‪ ،‬کاهش کمک‌های مالی اهداکنندگان خصوصی و عدم امکان تبادل و انتقال‬
‫پول برای خرید و دریافت کاال می‌شود و در نتیجه‪ ،‬استفاده از روش‌های جایگزین را‪ ،‬که اغلب غیرایمن‬
‫هستند‪ ،‬ناگزیر می‌سازد‪ .‬این وضعیت نیز به نوبه خود موجب افزایش احتمال دریافت دارو و تجهیزات‬
‫پزشکی با کیفیت غیراستاندارد‪ ،‬قیمت‌های باالتر و در نتیجه کاهش قابلیت‌های عملیاتی می‌شود‪ .‬گزارش‬
‫شده است که سازمان‌های بشردوستانه فعال در ایران با خطر اتهامات مدنی و کیفری از سوی ایاالت متحده‬
‫به دلیل تعامل با نهادهای ایرانی و فعالیت‌های بشردوستانه آنها در ایران روبرو هستند‪ .‬روند درخواست‬
‫مجوزها طوالنی‪ ،‬نامطمئن و بسیار پرهزینه است و امکان تحویل کاالهای صرفا ً بشردوستانه مانند دارو‪،‬‬
                                                  ‫تجهیزات پزشکی و غذا به ایران را تضعیف می‌کند‪.‬‬
                                                                                            ‫توصیه‌ها‬
‫به همه طرف‌ها تعهدشان بر اساس منشور سازمان ملل متحد برای رعایت اصول و هنجارهای حقوق‬
‫بین‌الملل از جمله اصول برابری حاکمیتی‪ ،‬استقالل سیاسی‪ ،‬عدم مداخله در امور داخلی کشورها و حل و‬
                                         ‫فصل مسالمت آمیز اختالفات بین‌المللی را یادآوری می‌کنم‪.‬‬
‫از همه طرف‌های ذینفع بین‌المللی و ملی می‌خواهم که استفاده از لفاظی تحریم‌ها به عنوان ابزاری سیاسی‬
‫یا ابزاری برای کسب منافع اقتصادی را فورا متوقف کنند و برای حل و فصل اختالفات مطابق با اصول و‬
  ‫هنجارهای حقوق بین‌الملل‪ ،‬ضمن ارزیابی‪ ،‬پیشگیری و نظارت بر تأثیرات انسانی‪ ،‬وارد گفت‌وگو شوند‪.‬‬
‫از کشورهای تحریم کننده به خصوص ایاالت متحده امریکا می‌خواهم که تمام اقدامات یک جانبه تحمیل‬
‫شده علیه کشور ایران‪ ،‬شهروندان و شرکت‌های ایرانی را لغو کنند‪ .‬این تحریم‌ها بدون مجوز شورای‬
‫امنیت سازمان ملل متحد وضع شده اند و استفاده از آنها را نمی‌توان به عنوان اقدام متقابل یا معامله به مثل‬
‫مطابق با قوانین بین‌المللی توجیه کرد‪ ،‬به ویژه در مورد تجارت‪ ،‬تحویل (کاال و خدمات)‪ ،‬بیمه و موانع‬
‫پرداخت برای توسعه و نگهداری زیرساخت‌های حیاتی از جمله غذا‪ ،‬دارو و تجهیزات پزشکی‪ ،‬سیستم‌های‬
‫تامین آب‪ ،‬فاضالب و برق‪ ،‬ارتباطات‪ ،‬حمل‌ونقل و غیره که متضمن بهره‌مند شدن مردم از همه انواع‬
‫حقوق بشر شامل سالمت‪ ،‬غذا‪ ،‬امنیت حمل و نقل و سایر حقوق انسانی است‪ .‬همچنین یادآوری می‌کنم که‬
                                                 ‫هیچ نیت خیری نقض حقوق اساسی بشر را توجیه نمی‌کند‪.‬‬
‫از دولت ایاالت متحده می‌خواهم که وضعیت اضطراری ملی را که در تناقض با میثاق بین‌المللی حقوق‬
‫مدنی و سیاسی است‪ ،‬متوقف کند و قوانین ملی خود را با قوانین بین‌المللی‪ ،‬از جمله قوانین حقوق بشر‪،‬‬
                                                 ‫قانون پناهندگان و قانون مسئولیت بین‌المللی همسو کند‪.‬‬
‫از همه دولت‌ها‪ ،‬سازمان‌های بین‌المللی‪ ،‬بانک‌ها‪ ،‬شرکت‌های خصوصی‪ ،‬جامعه مدنی و دیگر نهادهای‬
‫مربوطه می‌خواهم از اجبار‪ ،‬تهدیدات کتبی یا شفاهی یا هر عمل دیگری که ممکن است موجب یا منجر به‬
‫رعایت افراطی تحریم‌های یکجانبه کشور خود یا کشور ثالث شود‪ ،‬اجتناب کنند و از تفسیر محدودیت‌ها و‬
   ‫تلقی کاربرد دوگانه برای کاالها و تجهیزات در این دوره موقت قبل از لغو تحریم‌های یکجانبه بپرهیزند‪.‬‬
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‫از کشورهایی که دارایی‌های بانک مرکزی ایران را مسدود کرده‌اند می‌خواهم که طبق هنجارهای متعارف‬
‫حقوق بین‌الملل مربوط به مصونیت اموال دولتی‪ ،‬از این دارایی‌ها رفع توقیف کنند تا دولت بتواند به طور‬
                ‫کامل مسئولیت اجرای همه تعهدات خود را برای ارتقا و حمایت از حقوق بشر انجام دهد‪.‬‬
‫از همه بانک‌ها و شرکت‌های خصوصی می‌خواهم که مطابق با اصول راهنمای تجارت و حقوق بشر‪ ،‬از‬
‫اجرای افراطی تحریم‌ها که منجر به نقض حقوق شهروندان ایرانی و اتباع خارجی ساکن در ایران‬
‫می‌شود‪ ،‬به‌ویژه در زمینه زیرساخت‌های حیاتی‪ ،‬تحویل تجهیزات پزشکی‪ ،‬قطعات یدکی‪ ،‬دارو‪ ،‬و مواد‬
‫اولیه تولید دارو‪ ،‬به ویژه در مورد بیماری‌های خاص و حاد‪ ،‬خودداری کنند‪ .‬من همچنین به دولت ایران‬
   ‫توصیه می‌کنم که امکان روش‌های جایگزین پرداخت برای دریافت کاالهای بشردوستانه را بررسی کند‪.‬‬
‫به همه دولت‌ها و سازمان‌های منطقه‌ای یادآوری می‌کنم که باید از اصل مراقبت بایسته پیروی کنند و تمام‬
‫اقدامات الزم را انجام دهند تا مطمئن شوند که اقدامات تحت صالحیت و کنترل آنها بر حقوق بشر مردم در‬
‫داخل و خارج از مرزهای ملی تأثیری نخواهد گذاشت‪ .‬نقض تعهدات بین‌المللی توسط دولت‌ها از جمله‬
‫مراقبت بایسته برای تضمین این که فعالیت تحت صالحیت و کنترل آنها به شهروندان‪ ،‬ساکنان و‬
‫شرکت‌های کشورهای ثالث آسیبی وارد نمی‌کند‪ ،‬زمینه معتبری برای مسئولیت‌پذیری و پاسخگو بودن‬
‫مطابق با قوانین بین‌المللی ایجاد می‌کند‪ .‬همچنین از نهادهای قضایی منطقه‌ای و ملی می‌خواهم که بدون‬
‫مقدم دانستن سیاست‌های کاهش خطر و نگرانی‌های اقتصادی بر تعهدات بین‌المللی اقتصادی و حقوق‬
                                  ‫بشری‪ ،‬پرونده‌های مرتبط با تحریم‌ها را به نحو مقتضی بررسی کنند‪.‬‬
‫به کشورهایی که علیه ایران‪ ،‬شهروندان و شرکت‌های ایرانی تحریم وضع کرده اند توصیه می‌کنم اطمینان‬
‫حاصل کنند که جمهوری اسالمی ایران قادر باشد حق عضویت مقرر و کمک‌های داوطلبانه خود را به‬
‫سازمان‌های بین‌المللی پرداخت کند‪ ،‬که نمایندگی‌های دیپلماتیک‪ ،‬کنسولی و ویژه ایران و کارکنان آن بدون‬
‫هیچ مانعی مجوز ورود دریافت کنند و از امکان افتتاح و نگهداری حساب‌های بانکی و انجام فعالیت‌های‬
‫دیپلماتیک و کنسولی برخوردار باشند‪ ،‬و از هرگونه خطر مسدود شدن حساب‌های مأموریتی در انطباق‬
‫کامل با اصل برابری حاکمیتی دولت‌ها‪ ،‬مصونیت اموال دولتی و کنوانسیون‌های وین در مورد روابط‬
                                             ‫دیپلماتیک‪ ،‬کنسولی و ماموریت‌های ویژه در امان باشند‪.‬‬
    ‫از کشورهای شرکت کننده در برجام و ایاالت متحده می‌خواهم که با حسن نیت به مذاکرات ادامه دهند‪.‬‬
‫همچنین از بانک‌ها‪ ،‬نهادهای ورزشی‪ ،‬فرهنگی و دانشگاهی‪ ،‬سازمان‌ها و انجمن‌ها درخواست می‌کنم تا‬
‫امکان مشارکت دانشمندان‪ ،‬هنرمندان و ورزشکاران ایرانی را در همکاری‌های بین‌المللی تضمین و تسهیل‬
‫کنند‪ .‬این امر در راستای تعهدات و ابتکارات بین‌المللی است (از جمله یونسکو و سایر نهادهای سازمان‬
‫ملل متحد) ناظر بر این که همکاری‌ها و مبادالت آموزشی‪ ،‬ورزشی و فرهنگی ابزاری جدا نشدنی برای‬
‫دستیابی به اهداف توسعه پایدار‪ ،‬پیشگیری از منازعات و حفظ صلح و امنیت در سراسر جهان است‪ .‬من‬
‫از همه طرف‌ها می‌خواهم که دسترسی آزاد به اطالعات و امکان اعمال آزادی بیان را بدون هرگونه‬
   ‫محدودیت در دنیای دیجیتال و مطابق با مواد ‪ ۲۰-۱۹‬میثاق بین‌المللی حقوق مدنی و سیاسی تضمین کنند‪.‬‬
‫من ضمن استقبال از همکاری گزارش شده دولت با تیم کشوری و آژانس‌های تخصصی سازمان ملل متحد‬
‫حاضر در ایران در زمینه عملیات بشردوستانه‪ ،‬دولت ایران و کمیساریای عالی حقوق بشر سازمان ملل‬
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‫متحد را تشویق می‌کنم که با هدف ترویج و حمایت از حقوق بشر در کشور از طریق یک برنامه‬
‫همکاری‌های فنی و همچنین تعامل با گزارشگران رویه‌های ویژه‪ ،‬در یک گفت‌وگوی جدی و توأم با‬
                                                         ‫احترام متقابل با یکدیگر شرکت کنند‪.‬‬
‫من از تیم کشوری سازمان ملل متحد در ایران به خصوص ‪ ،UNDP، UNICEF‬و ‪ UNAIDS‬می‌خواهم که‬
‫با تولیدکنندگان و کشورهای مربوطه تعامل بیشتری داشته باشند و به ایران در تهیه داروها‪ ،‬مواد اولیه‪،‬‬
‫تجهیزات و اقالم پزشکی با کیفیت مناسب برای درمان بیماری‌های خاص و حاد از جمله بیماری پروانه‬
‫ای‪ ،‬تاالسمی‪ ،‬هموفیلی‪ ،‬اچ آی وی‪ ،‬سرطان‪ ،‬هموفیلی‪( MSA ،‬بیماری اتروفی سیستم چندگانه)‪ ،‬دیابت و‬
                                                                                ‫غیره کمک کنند‪.‬‬
‫ضمن استقبال و قدردانی از تالش‌های ایران برای میزبانی تعداد فزاینده پناهندگان افغانستانی‪ ،‬عالوه بر‬
‫درخواست لغو تحریم‌های یکجانبه به منظور افزایش توان دولت برای ارائه خدمات و مراقبت‌های الزم به‬
‫این افراد‪ ،‬از جامعه بین‌المللی نیز می‌خواهم که برای این منظور کمک‌های اساسی کافی برای ایران فراهم‬
                                                                                               ‫کند‪.‬‬
‫من از کارگزاری‌ها و نهاد‌های تخصصی تیم کشوری سازمان ملل متحد و سایر سازمان‌های بشردوستانه‬
‫فعال در ایران می‌خواهم که برای اطمینان از رعایت حاکمیت قانون و حقوق بشر و دستیابی به اهداف‬
‫توسعه پایدار‪ ،‬در زمینه کاهش آثار منفی تحریم‌های یکجانبه بر حقوق بشر در ایران به طور جدی و در‬
                                                  ‫چارچوب مسئولیت خود با ایران همکاری کنند‪.‬‬
‫با توجه به تعهد همه دولت‌ها برای حل و فصل اختالفات بین‌المللی از طریق راه‌های مسالمت‌آمیز‪ ،‬از ارائه‬
‫پرونده نقض عهدنامه مودت و روابط اقتصادی و حقوق کنسولی (‪ )۱۹۵۵‬به دیوان بین‌المللی دادگستری‬
‫استقبال می‌کنم و از همه طرف‌ها می‌خواهم که به طور مشابه از سازوکارهای قضایی برای حل و فصل‬
‫اختالفات موجود استفاده کنند و با حسن نیت همکاری کنند تا از طریق مذاکره و استفاده از تمام‬
‫سازوکارهای موجود برای حمایت از حقوق بشر تضییع شده در اثر اقدامات یک‌جانبه قهرآمیز‪ ،‬از جمله‬
‫نهادهای ناظر برمعاهدات (حقوق ‌بشر) سازمان ملل متحد‪ ،‬دیوان دادگستری اتحادیه اروپا‪ ،‬دادگاه حقوق‬
‫بشر اروپا و غیره‪ ،‬از بروز چنین اختالفاتی جلوگیری شود‪ .‬از دیگر رویه‌های ویژه نیز می‌خواهم که به‬
‫آثار منفی تحریم‌های یکجانبه علیه ایران بر مردم ایران به‌ویژه گروه‌های آسیب‌پذیر توجه الزم را داشته‬
                                                                                             ‫باشند‪.‬‬
‫من از دفتر کمیساریای عالی‪ ،‬نهادهای ناظر برمعاهدات (حقوق ‌بشر)‪ ،‬دفتر هماهنگی امور بشردوستانه‬
‫سازمان ملل متحد و سایر نهادهای سازمان ملل متحد که با گزارشگر ویژه همکاری می‌کنند‪ ،‬می‌خواهم که‬
‫در بررسی امکان تقاضای پرداخت غرامت‪ ،‬ترمیم و جبران خسارت برای قربانیان نقض حقوق بشر ناشی‬
‫از اقدامات یک‌جانبه قهرآمیز مشارکت کنند‪ .‬من همچنین از همه ذی‌نفعان از جمله دولت‌ها‪ ،‬سازمان‌های‬
‫بین‌المللی‪ ،‬سازمان‌های غیردولتی‪ ،‬بانک‌ها‪ ،‬و شرکت‌ها دعوت می‌کنم تا برای تدوین اصول راهنمای‬
‫مربوط به تحریم‌های ثانویه‪ ،‬رعایت افراطی تحریم‌ها و حمایت از حقوق بشر‪ ،‬جلوگیری از خطرزدایی که‬
‫مستلزم تبعیت افراطی از تحریم‌ها است‪ ،‬و معرفی اصول مراقبت بایسته در همکاری‌های بین‌المللی‪ ،‬بانکی‬
                                            ‫و فعالیت‌های تجاری‪ ،‬گفتگوهای چندسطحی را آغاز کنند‪/.‬‬
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                         EXHIBIT 6

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UN SUMMARY OF DOULAN COMMENTS
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UN Special Rapporteur on the negative
impact of unilateral coercive measures
concludes visit to Iran
                22 May 2022




                                                                 Photo: © UN Iran/Kamyar Minoukadeh


Independent UN rights expert analyses the impact of unilateral coercive measures on human rights in

Iran.


On May 18, Alena Douhan, UN Special Rapporteur on the Negative Impact of Coercive Measures on the

Enjoyment of Human Rights, concluded a 12-day trip to Iran to examine the impact of UCMs on the

country.
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At a press conference held at Iran’s National Library on May 18, 2022, the independent expert underlined

that the complex set of unilateral sanctions against Iran, coupled with secondary sanctions against

third-parties, overcompliance and zero-risking policies by businesses and financial institutions,

exacerbate existing humanitarian and economic challenges and negatively affect the lives of the people,

in particular the most vulnerable.


The Special Rapporteur will present a final report to the Human Rights Council in September 2022.


For more information, visit OHCHR's website.
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                        EXHIBIT 7

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        Financial Channels to Facilitate Humanitarian Trade with Iran and Related Due
                          Diligence and Reporting Expectations

         The U.S. Government has levied unprecedented economic pressure to disrupt the Iranian
regime’s ability to covertly and illicitly access the international financial system to finance
terrorism abroad, increase its domestic oppression, support the brutal Assad regime, procure
ballistic missile technology, and broadly destabilize the Middle East. These U.S. government
efforts are directed at the Iranian regime. They are not directed at the people of Iran, who
themselves are victims of the regime’s oppression, corruption, and economic mismanagement.

        The United States maintains broad exceptions and authorizations for the sale of
agricultural commodities, food, medicine, and medical devices to Iran by U.S. and non-U.S.
persons, provided such transactions do not involve persons designated in connection with Iran’s
proliferation of weapons of mass destruction (WMD), or Iran’s support for international
terrorism. These exceptions and authorizations are clearly outlined by Treasury’s Office of
Foreign Assets Control (OFAC) in Frequently Asked Questions (FAQs) regarding Iran sanctions,
Guidance on Humanitarian Assistance and Related Exports to the Iranian People (2013), and
Guidance on the Sale of Food, Agricultural Commodities, Medicine, and Medical Devices by
Non-U.S. Persons to Iran (2013).

        Unfortunately, the U.S. government has seen the Iranian regime abuse the goodwill of the
international community, including by using so-called humanitarian trade to evade sanctions and
fund its malign activity. The U.S. government also knows that the regime and its proxies are
looking for new ways to generate funds and launder money. In fact, we have grown increasingly
concerned as we have uncovered Iranian and Iranian-proxy schemes to access illicitly the
international financial system under the cover of seemingly humanitarian organizations or
through shell companies or exchange houses.

        Today, October 25, 2019, the U.S. Departments of the Treasury and State announced a
new humanitarian mechanism to ensure unprecedented transparency into humanitarian trade with
Iran. Given the Iranian regime’s history of squandering its wealth on corruption and terrorism
instead of supporting the Iranian people, we have developed a framework to guard against such
theft and assist foreign governments and foreign financial institutions in establishing a payment
mechanism to facilitate legitimate humanitarian exports to Iran. Through this mechanism, no
revenue or payment of any kind will be transferred to Iran.

         Importantly, this path restricts the Central Bank of Iran’s (CBI) role in facilitating
humanitarian trade, which is critical because the CBI and its senior officials have facilitated
significant funds transfers to terrorist organizations. Iran’s deceptive financial practices and its
deficient anti-money laundering and countering the financing of terrorism (AML/CFT) regimes
can make it extremely difficult to determine who is on the other end of an Iranian transaction.
Our designation of CBI under Executive Order 13224 puts governments and financial
institutions on notice that engaging in transactions with the CBI may make them complicit in the
CBI’s support of terrorism.




                                                 1
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        This mechanism, designed solely for the purpose of commercial exports of agricultural
commodities, food, medicine, and medical devices to Iran, will provide unprecedented
transparency into humanitarian trade to Iran and help ensure that humanitarian goods go to the
Iranian people, and are not diverted by the Iranian regime to fund its nefarious purposes. To
achieve this transparency, participating governments and financial institutions must commit to
conducting enhanced due diligence to mitigate the higher risks associated with transactions
involving Iran. Such stringency is merited given Iran’s status as the largest state sponsor of
terrorism, as well as its continued failure to implement key AML/CFT safeguards established by
the Financial Action Task Force (FATF), the global standard-setting body for combating money
laundering and the financing of terrorism and proliferation. The enhanced due diligence
requirements are informed by appropriate FATF standards.

        As set forth below in greater detail, this framework will enable foreign governments and
foreign financial institutions to seek written confirmation from Treasury that the proposed
financial channel will not be exposed to U.S. sanctions in exchange for foreign governments and
financial institutions committing to provide to Treasury robust information on the use of this
mechanism on a monthly basis.
        If foreign governments or financial institutions detect any potential abuse of this
mechanism by Iranian customers, or the involvement of designated individuals or entities, they
will be required to immediately restrict any suspicious transactions and provide relevant
information to Treasury.

        This mechanism also can be used by U.S. persons and U.S.-owned or -controlled foreign
entities, as well as other non-U.S. persons. Of course, U.S. persons and U.S.-owned or -
controlled entities must still comply with existing requirements under the Trade Sanctions
Reform and Export Enhancement Act of 2000 (TSRA) for humanitarian exports to Iran, as
implemented through OFAC’s regulations.

                     Enhanced Due Diligence and Reporting Expectations

        Provided that foreign financial institutions commit to implement stringent enhanced due
diligence steps, the framework will enable them to seek written confirmation from Treasury that
the proposed financial channel will not be exposed to U.S. sanctions

         Host nation foreign financial institutions and their governments, as appropriate, will be
expected to collect, maintain, and report to Treasury, with appropriate disclosure and use
restrictions, a great deal of information on a monthly basis. Treasury will evaluate the
information it receives in making any determination about whether the transactions continue to
meet the stated due diligence and reporting expectations. Treasury will seek to protect information
identified by the submitter, consistent with applicable laws and regulations.
       The following is an illustrative list of documentation and information that Treasury and State
may require depending on the nature of transactions:




                                                  2
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    1. The information used to identify the Iranian customers and to verify their identities and
       beneficial ownership;

             a. For legal persons or arrangements, this would include the information used to
                identify and verify the existence of the entity or arrangement (company name,
                legal form and status, proof of incorporation, basic regulating powers, the
                registered address, list of directors, and principal place of business), and
                information sufficient to understand the nature of the Iranian customers’ business,
                ownership, and control structure;

             b. For legal persons, information sufficient to identify and verify the identities of the
                natural person(s) who are beneficial owners. For legal arrangements, information
                sufficient to identify and verify the identities of the natural person(s) who are the
                settlor, trustee(s), protector (if any), the beneficiaries or class of beneficiaries, and
                any other natural person exercising ultimate effective control over the legal
                arrangements;

    2. The information used by both the host nation’s foreign financial institutions and any
       Iranian financial institution involved to understand the purpose and intended nature of the
       business relationship between the seller of the humanitarian goods and the Iranian
       customer;

    3. Monthly statement balances with the value, currency, and balance date of any account of
       an Iranian financial institution held at the participating host nation’s foreign financial
       institutions that is being used for humanitarian transactions, in .csv format;

    4. A list of Iranian designated individuals or entities1 with which the Iranian customers
       indicate they currently have business relationships;

    5. Detailed information regarding the commercial elements and logistics of the transaction
       that would be transmitted between the seller of humanitarian goods and the customer in
       the normal course of financial messaging, which could include:

             a. customer information, including the identities of all consignees and intermediaries
                involved in the transactions;

             b. information about the Iranian customer and the seller of the humanitarian goods
                and the Iranian financial institution’s payment order explanation or narrative
                linked to the contracts for the sale of humanitarian goods;


1
  Persons designated on the List of Specially Designated Nationals and Blocked Persons under a program other than
solely the Iranian Transactions and Sanctions Regulations (31 C.F.R. Part 560), and carrying a tag other than solely
the “[IRAN]” tag.

                                                         3
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           c. order transaction amount and currency;

           d. date of transaction order;

           e. names of all involved financial institutions;

           f. bills of lading, airway bills and invoices, as well as other relevant documents that
              verify the export to and entry into Iran of the goods;

           g. the beneficiary’s identity; and

           h. the beneficiary’s bank.

   6. A written commitment from any Iranian distributors involved in the transactions that they
      will not allow the goods to be sold or resold to Iranian designated individuals or entities
      and that the Iranian distributor will impose this obligation on downstream customers;

   7. Additional information obtained regularly throughout the course of the host nation
      foreign financial institutions’ ongoing due diligence of the business relationship that is
      necessary to verify the consistency of the transaction with the purposes of the
      humanitarian channel, including host nation’s foreign financial institutions’ knowledge of
      the Iranian customers and their business and risk profiles;

   8. If, through the course of the host nation’s foreign financial institutions’ enhanced due
      diligence, Iranian customers are found to have attempted, or are suspected of, misuse of
      the humanitarian channel, the participating host nation’s foreign financial institution will
      immediately restrict any suspicious transactions and provide relevant information to
      Treasury when permitted; and

   9. If a host nation foreign financial institution finds that an Iranian customer had previous
      ties (within five years) to U.S.-, U.N.-, or EU-designated entities or individuals, the host
      nation foreign financial institution will provide to Treasury detailed information
      regarding any changes to those ties, such as a change in beneficial ownership or control
      of the Iranian customer.
In certain circumstances, Treasury and State may require other information.
Interested foreign governments and foreign financial institutions should reach out to Treasury for
more information or with any questions.




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